           Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 1 of 86




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
STATE OF NEW YORK, et al.,                                             :
                                                                       :
                                     Plaintiffs,                       :                            20-CV-5770 (RCW) (PWH) (JMF)
                                                                       :
                  -v-                                                  :                                   OPINION AND ORDER
                                                                       :
DONALD J. TRUMP, in his official capacity as                           :
President of the United States, et al.,                                :
                                                                       :
                                      Defendants.                      :
                                                                       :
---------------------------------------------------------------------- X

Before:              RICHARD C. WESLEY, United States Circuit Judge
                     PETER W. HALL, United States Circuit Judge
                     JESSE M. FURMAN, United States District Judge



BACKGROUND ............................................................................................................................ 6

   A.     The Constitutional and Statutory Scheme........................................................................... 6

   B.     The Use of Census Data ...................................................................................................... 8

   C.     The Citizenship Question Litigation and Its Aftermath.................................................... 10

   D.     The 2020 Census ............................................................................................................... 12

   E.     The Presidential Memorandum ......................................................................................... 15

   F.     This Litigation................................................................................................................... 17

SUMMARY JUDGMENT STANDARD .................................................................................... 19

STANDING AND RIPENESS ..................................................................................................... 20

   A.     The Law of Standing ......................................................................................................... 21

   B.     Facts Relevant to Standing................................................................................................ 25

   C.     Standing Analysis ............................................................................................................. 36
              Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 2 of 86




        1.        Injury in Fact ................................................................................................................. 40

             a.      Degradation of Census Data ..................................................................................... 41

             b.      Diversion of Resources ............................................................................................. 46

        2.        Traceability ................................................................................................................... 50

        3.        Redressability................................................................................................................ 53

        4.        Conclusion .................................................................................................................... 57

   D.        Prudential Ripeness ........................................................................................................... 58

THE MERITS ............................................................................................................................... 62

   A.        Apportionment Must Be Based on the Results of the Census Alone ............................... 63

   B.        The Apportionment Base Cannot Exclude Illegal Aliens Who Reside in a State ............ 69

   C.        Conclusion ........................................................................................................................ 77

REMEDIES................................................................................................................................... 79

   A.        Injunctive Relief................................................................................................................ 79

   B.        Declaratory Relief ............................................................................................................. 84

CONCLUSION ............................................................................................................................. 85




PER CURIAM.

             The Constitution provides that “Representatives shall be apportioned among the several

States according to their respective numbers, counting the whole number of persons in each

State.” U.S. Const. amend. XIV, § 2. To enable that apportionment, it mandates that an “actual

Enumeration” be conducted “every . . . ten Years, in such Manner as [Congress] shall by Law

direct,” an effort commonly known as the decennial census. Id. art. I, § 2, cl. 3. Congress has

delegated the task of conducting the census to the Secretary of Commerce, who is required to


                                                                            2
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 3 of 86




report “[t]he tabulation of total population by States” to the President. 13 U.S.C. § 141(a)-(b).

The President, in turn, is required to transmit to Congress “a statement showing the whole

number of persons in each State . . . as ascertained under the . . . decennial census of the

population, and the number of Representatives to which each State would be entitled” using a

mathematical formula “known as the method of equal proportions.” 2 U.S.C. § 2a(a).

Throughout the Nation’s history, the figures used to determine the apportionment of Congress —

in the language of the current statutes, the “total population” and the “whole number of persons”

in each State — have included every person residing in the United States at the time of the

census, whether citizen or non-citizen and whether living here with legal status or without.

       On July 21, 2020, however, the President announced that this long-standing practice will

no longer be the case. In a Presidential Memorandum issued on that date (and entered into the

Federal Register two days later), the President declared that, “[f]or the purpose of the

reapportionment of Representatives following the 2020 census” — which, as of today, is still

ongoing — “it is the policy of the United States to exclude from the apportionment base aliens

who are not in a lawful immigration status.” Excluding Illegal Aliens From the Apportionment

Base Following the 2020 Census, 85 Fed. Reg. 44,679, 44,680 (July 23, 2020) (ECF No. 1-1)

(the “Presidential Memorandum”). 1 To implement this new policy, the President ordered the

Secretary of Commerce (the “Secretary”) to provide him two sets of numbers for each State:

first, the total population as determined in the 2020 census and, second, the total population as

determined in the 2020 census minus the number of “aliens who are not in a lawful immigration

status.” Id. The President left it to the Secretary of Commerce to figure out how to calculate the

number of “aliens who are not in a lawful immigration status” in each State. But one thing is



1
       Unless otherwise noted, all docket references are to 20-CV-5770.

                                                   3
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 4 of 86




clear: that number would not come from the census itself, as the 2020 census is not collecting

information regarding citizenship status, let alone legal immigration status in this country, and

the 2020 census will count illegal aliens according to where they reside.

       In these consolidated cases, filed only three days after the Presidential Memorandum, two

sets of Plaintiffs — one, a coalition of twenty-two States and the District of Columbia, fifteen

cities and counties, and the United States Conference of Mayors (the “Governmental Plaintiffs”)

and the other, a coalition of non-governmental organizations (the “NGO Plaintiffs”) — challenge

the decision to exclude illegal aliens from the apportionment base for Congress on the ground

that it violates the Constitution, statutes governing the census and apportionment, and other laws.

On August 7, 2020, they filed a motion for summary judgment or, in the alternative, a

preliminary injunction. Plaintiffs allege that the Presidential Memorandum will cause, or is

already causing, two forms of irreparable harm. First, noting that the Presidential Memorandum

itself identifies a State — believed to be California — that would stand to lose two or three seats

in the House of Representatives if illegal aliens are excluded from the apportionment base, they

argue that the Memorandum will result in the loss of seats in the House. Second, they argue that

the Presidential Memorandum is having an immediate impact on the census count — which is

still ongoing — and that that, in turn, is resulting, and will result, in various forms of injury.

Defendants — the President, Secretary of Commerce Wilbur L. Ross, Jr., Director of the U.S.

Census Bureau Steven Dillingham (the “Director”), the United States Department of Commerce

(the “Department”), and the Bureau of the Census (the “Census Bureau”) — oppose Plaintiffs’

motion and filed a cross-motion to dismiss, arguing that the Court lacks jurisdiction to entertain

Plaintiffs’ claims and that the exclusion of illegal aliens from the apportionment base is a lawful




                                                   4
         Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 5 of 86




exercise of the President’s discretion with respect to the conduct of the census and

apportionment.

         For the reasons that follow, Plaintiffs are entitled to summary judgment. The Presidential

Memorandum violates the statutes governing the census and apportionment in two clear respects.

First, pursuant to the virtually automatic scheme established by these interlocking statutes, the

Secretary is mandated to report a single set of numbers — “[t]he tabulation of total population by

States” under the decennial census — to the President, and the President, in turn, is required to

use the same set of numbers in connection with apportionment. By directing the Secretary to

provide two sets of numbers, one derived from the decennial census and one not, and announcing

that it is the policy of the United States to use the latter in connection with apportionment, the

Presidential Memorandum deviates from, and thus violates, the statutory scheme. Second, the

Presidential Memorandum violates the statute governing apportionment because, so long as they

reside in the United States, illegal aliens qualify as “persons in” a “State” as Congress used those

words.

         On those bases, we declare the Presidential Memorandum to be an unlawful exercise of

the authority granted to the President by statute and enjoin Defendants — but not the President

himself — from including in the Secretary’s report to the President any information concerning

the number of aliens in each State “who are not in a lawful immigration status under the

Immigration and Nationality Act.” Presidential Memorandum, 85 Fed. Reg. at 44,680. Because

the President exceeded the authority granted to him by Congress by statute, we need not, and do

not, reach the overlapping, albeit distinct, question of whether the Presidential Memorandum

constitutes a violation of the Constitution itself.




                                                      5
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 6 of 86




       The merits of the parties’ dispute are not particularly close or complicated. Before

getting to the merits, however, we must confront a question that is closer: whether we have

jurisdiction to even consider the merits.

       It is axiomatic that federal courts are courts of limited jurisdiction and may consider the

merits of a case only if the case is of the sort traditionally amenable to, and resolvable by, the

judicial process. That requires a plaintiff seeking relief in federal court to demonstrate that it has

“standing” to bring suit and that its claims are ripe for decision. Here, if the sole harm that

Plaintiffs alleged were the harm to their apportionment interests, they might not satisfy the

requirements of standing and ripeness, as the Secretary has not yet taken any public action in

response to the Presidential Memorandum and could conceivably conclude that it is not feasible

(or lawful) to exclude illegal aliens from the apportionment base. But Plaintiffs allege — and

have proved — that they are suffering, and will suffer, more immediate and certain injuries by

virtue of the harm that the Presidential Memorandum is causing to the accuracy of the census

count itself. In light of those injuries, we conclude that we have jurisdiction to grant Plaintiffs

the relief they are seeking.

                                            BACKGROUND

       The following background facts, drawn from the admissible materials submitted by the

parties and materials of which the Court may take judicial notice, are undisputed except where

noted. See, e.g., Vt. Teddy Bear Co. v. 1-800 Beargram Co., 373 F.3d 241, 244 (2d Cir. 2004). 2

A. The Constitutional and Statutory Scheme

       Article I of the Constitution requires that an “actual Enumeration” of the population,

known as the decennial census, be conducted “every . . . ten Years, in such Manner as [Congress]


2
       We discuss facts relevant to the issues of standing and ripeness below.


                                                   6
         Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 7 of 86




shall by Law direct.” U.S. Const. art I, § 2, cl. 3. The primary purpose of this enumeration was

to apportion congressional representatives among the States “according to their respective

Numbers.” Id. The number of Representatives apportioned to each State determines, in turn,

that State’s share of electors in the Electoral College. See id. art. II, § 1, cl. 2; see also 3 U.S.C.

§ 3. For the first eighty years of the Nation’s history, the States’ “respective Numbers” were

calculated according to the formula set forth in the Constitution’s infamous “Three-Fifths

Clause,” which provided that the “actual Enumeration” established by the census would be

arrived at by “adding to the whole Number of free Persons . . . , and excluding Indians not taxed,

three fifths of all other Persons” — “all other Persons” being people then held as slaves. U.S.

Const. art I, § 2, cl. 3. In 1868, that provision was modified by the Fourteenth Amendment,

which provides that “Representatives shall be apportioned among the several States according to

their respective numbers, counting the whole number of persons in each State, excluding Indians

not taxed.” U.S. Const. amend. XIV, § 2 (emphasis added). 3

        The modern census is governed by the Census Act, which Congress most recently

amended in 1976. See Act. of Oct. 17, 1976 (the “Census Act” or the “Act”), Pub. L. No. 94-

521, 90 Stat. 2459 (codified in scattered sections of 13 U.S.C.). Section 141(a) of the Act

broadly delegates to the Secretary the duty to “take a decennial census of population as of the

first day of April of such year . . . in such form and content as he may determine.” 13 U.S.C. §

141(a). The Act then mandates that “[t]he tabulation of total population by States under

subsection (a) of this section as required for the apportionment of Representatives in Congress

among the several States shall be completed within 9 months after the census date” — in this



3
       For practical purposes, the “Indians not taxed” proviso was rendered moot by the Indian
Citizenship Act of 1924, Pub. L. No. 68-175, 43 Stat. 253 (codified as amended at 8 U.S.C.
§ 1401(b)), which declared that all Native Americans born in the United States are citizens.

                                                    7
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 8 of 86




case, January 1, 2021 — “and reported by the Secretary to the President of the United States.”

Id. § 141(b). Within a short time thereafter — in this case, between January 3 and January 10,

2021 — “the President shall transmit to the Congress a statement showing the whole number of

persons in each State, excluding Indians not taxed, as ascertained under the . . . decennial census

of the population, and the number of Representatives to which each State would be entitled under

an apportionment of the then existing number of Representatives by the method known as the

method of equal proportions, no State to receive less than one Member.” 2 U.S.C. § 2a(a). The

Clerk of the House of Representatives must, in turn, “send to the executive of each State a

certificate of the number of Representatives to which such State is entitled” within fifteen days

of the President’s statement. Id. § 2a(b). With limited exceptions not relevant here, the Census

Act strictly prohibits disclosure — even to other federal agencies — of any data or information

concerning individual respondents to the census. See 13 U.S.C. §§ 8-9; New York v. U.S. Dep’t

of Commerce, 351 F. Supp. 3d 502, 523 (S.D.N.Y.), aff’d, 139 S. Ct. 2551 (2019).

B. The Use of Census Data

       Although the “initial” — and core — “constitutional purpose” of the census was to

“provide a basis for apportioning representatives among the states in the Congress” (and, in turn,

allocating members of the Electoral College), the census has long “fulfill[ed] many important

and valuable functions for the benefit of the country.” Baldrige v. Shapiro, 455 U.S. 345, 353

(1982). As the Supreme Court has observed, it “now serves as a linchpin of the federal statistical

system by collecting data on the characteristics of individuals, households, and housing units

throughout the country.” Dep’t of Commerce v. U.S. House of Representatives, 525 U.S. 316,

341 (1999) (internal quotation marks and citation omitted). Indeed, “[t]oday, policy makers at

all levels of government, as well as private businesses, households, researchers, and nonprofit



                                                  8
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 9 of 86




organizations, rely on an accurate census in myriad ways that range far beyond the single fact of

how many people live in each state.” New York v. Dep’t of Commerce, 351 F. Supp. 3d at 519

(citation omitted). Among other things, the data are now used not only for apportionment, but

also “for such varied purposes as computing federal grant-in-aid benefits, drafting of legislation,

urban and regional planning, business planning, and academic and social studies.” Baldrige, 455

U.S. at 353 n.9.

       In New York v. Department of Commerce, the court described many of the varied uses

beyond congressional apportionment to which the federal, state, and local governments put

census data, which Plaintiffs reiterate in this case. See 351 F. Supp. 3d at 596-99, 610-13. To

provide a few examples here:

           •   The federal government relies on census data to allocate vast sums of money
               among and within States. In fiscal year 2016, for example, at least 320 such
               programs allocated about $900 billion using census-derived data. See id. at 596.

           •   State governments — including those among the Governmental Plaintiffs here —
               mandate the use of census data to draw intrastate political districts. See id. at 594-
               95, 612; House of Representatives, 525 U.S. at 333 n.4, 334; see also, e.g., ECF
               No. 76-11 (“Brower Decl.”), ¶ 16-18 (Minnesota); ECF No. 76-37 (“Rapoza
               Decl.”), ¶ 5 (Rhode Island).

           •   State law requires the use of census data for various purposes, ranging from the
               allocation of governmental resources and imposition of expenses among local
               governments to the setting of utility fees and official salaries. See New York v.
               Dep’t of Commerce, 351 F. Supp. 3d at 612-13 (citing various state statutes).

           •   State and local governments — including those among the Governmental
               Plaintiffs here — rely on census data, including granular local-level
               “characteristic data,” to perform essential government functions. New York City,
               for example, makes important decisions about how to allocate public services in
               reliance on demographic data derived from the census, as when its Department of
               Education redraws school zone boundary lines, ECF No. 76-21, (“Salvo Decl.”),
               ¶ 15; when its Department of Health deploys resources based on its best
               understanding of the age, race, and Hispanic origin characteristics within
               particular communities, id. ¶ 14; and when its Population Division uses age data
               to target services for aged individuals, id. ¶ 16.




                                                  9
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 10 of 86




Thus, inaccuracies in federal census data would affect state and local governments — and, by

extension, their residents — in many ways, only some of which would be measurable. Critically,

in many instances, that would be true even if the total population counts were not materially

affected — because of the importance of accuracy at the local or subgroup level. 4

C. The Citizenship Question Litigation and Its Aftermath

        This is not the first time issues relating to the 2020 census have been brought in this

District. On March 22, 2018, the Secretary announced that he had decided to include “a question

about citizenship on the 2020 decennial census questionnaire,” claiming “that he was acting at

the request of the Department of Justice (DOJ), which sought improved data about citizen

voting-age population for purposes of enforcing the Voting Rights Act.” Dep’t of Commerce v.

New York, 139 S. Ct. 2551, 2562 (2019). Shortly thereafter, two groups of plaintiffs —

including most, if not all, Plaintiffs here — filed suit in this District, alleging that the decision to

include the citizenship question violated the Constitution and the Administrative Procedure Act

(“APA”), 5 U.S.C. §§ 701 et seq. On January 15, 2019, after an eight-day bench trial, Judge

Furman issued detailed findings of fact and conclusions of law, holding that the Secretary’s

decision was arbitrary and capricious, contrary to law, and pretextual. New York v. Dep’t of




4
        Although less relevant here, accurate census data is also critical to others, including
scholars and private-sector businesses. See, e.g., Br. of Amici Curiae 16 Businesses & Business
Organizations at 3, ECF No. 103-1 (“Businesses Amicus”) (“The Census provides critical data
that informs decision-making in both the private and public sectors. . . . Consequently,
government action that threatens the accuracy of Census data directly harms the businesses
nationwide that rely on that data.”); MARGO J. ANDERSON, THE AMERICAN CENSUS: A SOCIAL
HISTORY 260-61 (2d ed. 2015) (describing how “[s]ocial scientists in university settings, in
businesses, or in stand-alone research organization [have become] the market” for census data in
the modern era). For instance, businesses rely on census data “to make a variety of decisions,
including where to put new brick-and-mortar locations, how to market their products, and how to
predict which products will be successful in a given market. . . . All of these things depend on
the availability of accurate Census data.” Businesses Amicus 2.

                                                    10
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 11 of 86




Commerce, 351 F. Supp. 3d at 516; see id. at 635-64. He vacated the Secretary’s decision and

enjoined its implementation. See id. at 671-80. The defendants filed a notice of appeal and a

petition for certiorari before judgment in the Supreme Court. The Supreme Court granted their

petition and then affirmed on the ground that the Secretary’s stated rationale was pretextual. See

Dep’t of Commerce v. New York, 139 S. Ct. at 2573-76. Thereafter, on consent, Judge Furman

entered a permanent injunction barring the Secretary from asking persons about citizenship status

as part of the 2020 decennial census. See Order at 2, ECF No. 653, New York, No. 18-CV-2921

(JMF) (S.D.N.Y. Aug. 7, 2019).

       Shortly after the Supreme Court affirmed Judge Furman’s judgment, the President

responded with an Executive Order aimed at “compil[ing]” citizenship data “by other means.”

Collecting Information About Citizenship Status in Connection With the Decennial Census,

Exec. Order No. 13,880 § 1, 84 Fed. Reg. 33,821, 33,821 (July 16, 2019). The Executive Order

directed “all executive departments and agencies” to provide to the Department “the maximum

assistance permissible, consistent with law, in determining the number of citizens and non-

citizens in the country, including by providing any access that the Department may request to

administrative records.” Id. § 3 at 33,824. The Executive Order explained that data identifying

citizens would, among other things, “help . . . generate a more reliable count of the unauthorized

alien population in the country,” which “would,” in turn, “be useful . . . in evaluating many

policy proposals.” Id. § 1 at 33,823. Noting that the Supreme Court’s decision in Evenwel v.

Abbott, 136 S. Ct. 1120 (2016), had “left open the question whether ‘States may draw districts to

equalize voter-eligible population rather than total population,’” the Executive Order also

explained that citizenship data could be used by states “to design State and local legislative

districts based on the population of voter-eligible citizens.” Id. § 1 at 33,823-24. The Executive



                                                  11
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 12 of 86




Order said nothing about using citizenship data for purposes of congressional apportionment.

Similarly, in remarks he made when announcing the Executive Order, the President made no

mention of using citizenship data in connection with congressional apportionment. See Remarks

on Citizenship and the Census, 2019 DAILY COMP. PRES. DOC. 465 (July 11, 2019), https://www.

govinfo.gov/content/pkg/DCPD-201900465/pdf/DCPD-201900465.pdf.

D. The 2020 Census

       On February 8, 2018 the Census Bureau promulgated the “Residence Rule” establishing

the residence criteria for the 2020 census. See Final 2020 Census Residence Criteria and

Residence Situations, 83 Fed. Reg. 5525 (Feb. 8, 2018) (the “Residence Rule” or the “Rule”).

“The residence criteria are used to determine where people are counted during each decennial

census.” Id. at 5526. “[G]uided by the constitutional and statutory mandates to count all

residents of the several states,” the Rule explains, “[t]he state in which a person resides and the

specific location within that state is determined in accordance with the concept of ‘usual

residence,’ which is defined by the Census Bureau as the place where a person lives and sleeps

most of the time. . . . This concept of ‘usual residence’ is grounded in the law providing for the

first census, the Act of March 1, 1790, expressly specifying that persons be enumerated at their

‘usual place of abode.’” Id. Applying these criteria, the Rule explains that all “[c]itizens of

foreign countries living in the United States” are to be “[c]ounted at the U.S. residence where

they live and sleep most of the time,” with the exception of “[c]itizens of foreign countries living

in the United States who are members of the diplomatic community” (who are counted at the

embassy, consulate, United Nations’ facility, or other residences where diplomats live) and

“[c]itizens of foreign countries visiting the United States, such as on a vacation or business trip”

(who are not counted at all). Id. at 5533. Notably, during the notice-and-comment process, the



                                                  12
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 13 of 86




Census Bureau considered a comment “express[ing] concern about the impact of including

undocumented people in the population counts for redistricting because these people cannot

vote.” Id. at 5530. But the Census Bureau decided to “retain the proposed residence situation

guidance for foreign citizens in the United States,” reiterating that “[f]oreign citizens are

considered to be ‘living’ in the United States if, at the time of the census, they are living and

sleeping most of the time at a residence in the United States.” Id. (emphasis added).

       The Census Bureau relies on various means to obtain census data, beginning with a

questionnaire to which households are asked to self-respond and ending with a set of procedures

known as “Non-Response Follow-Up” operations. See New York v. Dep’t of Commerce, 351 F.

Supp. 3d at 521. The 2020 census count “officially began in the rural Alaskan village of

Toksook Bay” on January 21, 2020. U.S. Census Bureau, Important Dates, U.S. CENSUS 2020,

https://2020census.gov/en/important-dates.html (last visited September 7, 2020). Census

operations were in full swing by mid-March, when the Census Bureau was confronted with the

unprecedented challenge of the COVID-19 pandemic. On April 13, 2020, the Secretary and the

Director announced that, due to the pandemic, the Census Bureau would temporarily suspend

field data collection activities; seek a 120-day extension from Congress of the deadline “to

deliver final apportionment counts”; and “extend the window for field data collection and self-

response to October 31, 2020, which will allow for apportionment counts to be delivered to the

President by April 30, 2021.” U.S. Department of Commerce Secretary Wilbur Ross and U.S.

Census Bureau Director Steven Dillingham Statement on 2020 Census Operational Adjustments

Due to COVID-19, U.S. CENSUS BUREAU (Apr. 13, 2020), https://www.census.gov/newsroom/

press-releases/2020/statement-covid-19-2020.html. In the following months, representatives of




                                                   13
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 14 of 86




the Census Bureau reiterated on multiple occasions that additional time was required to complete

the apportionment count and deliver it to the President. 5

       The Census Bureau resumed field operations in May 2020. See U.S. Census Bureau,

2020 Census Operational Adjustments Due to COVID-19 (“Census Operations Adjustments”),

U.S. CENSUS 2020, https://2020census.gov/en/news-events/operational-adjustments-covid-19.

html (last visited Sept. 9, 2020). Despite the Census Bureau’s earlier statements indicating the

need for more time to complete the census, Director Dillingham announced on August 3, 2020,

that the Census Bureau would end field operations on September 30, 2020, a month earlier than

the previously announced deadline of October 31, 2020. See Statement from U.S. Census Bureau

Director Steven Dillingham: Delivering a Complete and Accurate 2020 Census Count, U.S.

CENSUS BUREAU (Aug. 3, 2020), https://www.census.gov/newsroom/press-releases/2020/

delivering-complete-accurate-count.html; see also ECF No. 62 (“NGO Pls. Compl.”), ¶¶ 10 &

n.3, 114, 174 n.69. As of today, therefore, the census is still ongoing — with enumerators

conducting in-person Non-Response Follow-Up work to ensure that any household that did not

self-respond to the census is nonetheless counted as part of the “actual Enumeration.” See

Census Operations Adjustments; see also ECF No. 34 (“Gov’t Pls.’ Compl.”), ¶ 130 & n.20. In

fact, there is some doubt about the date on which these efforts will end and the counting will



5
        See, e.g., U.S. CENSUS BUREAU, OPERATIONAL PRESS BRIEFING – 2020 CENSUS UPDATE
21 (July 8, 2020), https://www.census.gov/content/dam/Census/newsroom/press-kits/2020/news-
briefing-program-transcript-july8.pdf (statement of Albert Fontenot, Assoc. Dir. for Decennial
Census Programs) (explaining that the Bureau was “past the window of being able” to produce
the apportionment count by December 31, 2020); see also, e.g., Nat’l Conf. of Am. Indians, 2020
Census Webinar: American Indian/Alaska Native, YOUTUBE (May 26, 2020), https://www.
youtube.com/watch?v=F6IyJMtDDgY&feature=youtu.be&t=4689 (statement of Tim Olson,
Assoc. Dir. For Field Operations) (explaining that “[w]e have passed the point where [the
Bureau] could even meet the current legislative requirement of December 31. We can’t do that
anymore. We’ve passed that for quite a while now.”).


                                                  14
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 15 of 86




stop. On September 5, 2020, the Honorable Lucy H. Koh, United States District Judge for the

Northern District of California, entered a temporary restraining order enjoining the Census

Bureau from “implementing the August 3, 2020 [plan] or allowing to be implemented any

actions as a result of the shortened timelines in the August 3, 2020 [plan].” Nat’l Urban League

v. Ross, No. 20-CV-5799 (LHK), 2020 WL 5291452, at *4 (N.D. Cal. Sept. 5, 2020). A

preliminary injunction hearing is scheduled in that case for September 17, 2020. See id.

E. The Presidential Memorandum

       In the meantime — that is, with the census count still being conducted — on July 21,

2020, the President issued the Presidential Memorandum, titled “Excluding Illegal Aliens From

the Apportionment Base Following the 2020 Census.” Presidential Memorandum, 85 Fed. Reg.

at 44,679. In it, the President declared that, “[f]or the purpose of the reapportionment of

Representatives following the 2020 census, it is the policy of the United States to exclude from

the apportionment base aliens who are not in a lawful immigration status . . . to the maximum

extent feasible and consistent with the discretion delegated to the executive branch.” Id. at

44,680. “Excluding these illegal aliens from the apportionment base,” the President posited, “is

more consonant with the principles of representative democracy underpinning our system of

Government. Affording congressional representation, and therefore formal political influence, to

States on account of the presence within their borders of aliens who have not followed the steps

to secure a lawful immigration status under our laws undermines those principles.” Id.

Additionally, the President asserted that “[i]ncreasing congressional representation based on the

presence of aliens who are not in a lawful immigration status would also create perverse

incentives encouraging violations of Federal law” and that “States adopting policies that

encourage illegal aliens to enter this country and that hobble Federal efforts to enforce the



                                                  15
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 16 of 86




immigration laws passed by the Congress should not be rewarded with greater representation in

the House of Representatives.” Id. Referring to one State with “more than 2.2 million illegal

aliens” — apparently California, see ECF No. 75 (“Pls.’ Rule 56.1 Statement”), ¶ 4 — the

Presidential Memorandum noted that “[i]ncluding these illegal aliens in the population of the

State for the purpose of apportionment could result in the allocation of two or three more

congressional seats than would otherwise be allocated.” Presidential Memorandum, 85 Fed.

Reg. at 44,680.

       To implement this new “policy of the United States,” the President directed the Secretary

to provide him with two sets of data. First, the Presidential Memorandum mandates that, “[i]n

preparing his report to the President under section 141(b) of title 13, United States Code, the

Secretary shall take all appropriate action, consistent with the Constitution and other applicable

law, to provide information permitting the President, to the extent practicable, to exercise the

President’s discretion to carry out the policy.” Id. Second, “[t]he Secretary shall also include in

that report information tabulated according to the methodology set forth in Final 2020 Census

Residence Criteria and Residence Situations, 83 FR 5525 (Feb. 8, 2018).” Id. (emphasis added).

In other words, to the extent “feasible” or “practicable,” the Secretary is now required to include

two sets of numbers for each State in his report to the President under Section 141(b) of the

Census Act: first, the total population as determined in accordance with the Residence Rule,

which includes citizens of foreign countries “living in the United States,” without regard for the

legal status of such persons in this country, Residence Rule, 83 Fed. Reg. at 5533; and second,

the total population minus the number of “aliens who are not in a lawful immigration status.”

Presidential Memorandum, 85 Fed. Reg. at 44,680.




                                                  16
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 17 of 86




F. This Litigation

       On July 24, 2020 — only three days after the Presidential Memorandum — both the

Governmental Plaintiffs and the NGO Plaintiffs filed their initial complaints. See ECF No. 1;

20-CV-5781, ECF No. 1. 6 In their now-amended Complaints, Plaintiffs contend that the

Presidential Memorandum violates the Constitution’s Enumeration Clause, as modified by the

Fourteenth Amendment; is motivated by discriminatory animus toward Hispanics and immigrant

communities of color, in violation of the equal protection component of the Fifth Amendment’s

Due Process Clause; coerces state and local governments and denigrates the equal sovereignty of

the States in violation of the Tenth Amendment; violates the constitutional separation of powers

by usurping the authority Congress delegated to the Secretary; constitutes an ultra vires violation

of 2 U.S.C. § 2a and 13 U.S.C. § 141; violates the APA; and violates the Census Act’s

prohibition on the use of statistical sampling for purposes of congressional apportionment, see 13

U.S.C. §§ 141, 195. They seek a declaration that the Presidential Memorandum is unlawful, an

injunction prohibiting Defendants from taking any action to implement or further the

Memorandum, and writs of mandamus compelling the Secretary and the President to transmit

figures that do not exclude illegal aliens based on immigration status.

       The cases were initially assigned to Judge Furman alone, who consolidated them

pursuant to Rule 42(a)(2) of the Federal Rules of Civil Procedure. ECF No. 43, at 1. On August

5, 2020, Judge Furman held an initial pretrial conference by telephone. During the conference,



6
       At least six other cases in four other Districts have been filed challenging the Presidential
Memorandum. See Compl., Common Cause v. Trump, No. 20-CV-2023 (D.D.C. July 23, 2020);
Compl., Haitian-Ams. United, Inc. v. Trump, No. 20-CV-11421 (D. Mass. July 27, 2020);
Compl., City of San Jose v. Trump, No. 20-CV-5167 (N.D. Cal. July 27, 2020); Compl.,
California v. Trump, No. 20-CV-5169 (N.D. Cal. July 28, 2020); Compl., Useche v. Trump, No.
20-CV-2225 (D. Md. July 31, 2020); Second Am. Compl., La Union Del Pueblo Entero v.
Trump, No. 19-CV-2710 (D. Md. Aug. 13, 2020).

                                                  17
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 18 of 86




Plaintiffs advised that they intended to immediately file a motion for summary judgment (or, in

the alternative, a preliminary injunction), and Defendants advised that they intended to file a

motion to dismiss. ECF No. 79 (“Aug. 5, 2020 Tr.”), at 11, 27, 36-38; see also ECF No. 37

(“Joint Pre-Conference Ltr.”), at 6. Noting that Plaintiffs disclaimed the need for any discovery

in connection with their motion for summary judgment or a preliminary injunction, Judge

Furman set an expedited schedule and cautioned that, “[i]f defendants believe[d]” upon seeing

Plaintiffs’ motion papers “that there is any need for discovery,” they were required “to confer”

with Plaintiffs “immediately and then submit a joint letter.” Aug. 5, 2020 Tr. at 46.

       At Plaintiffs’ request, and without objection from Defendants, Judge Furman filed a

formal request on August 7, 2020, for the appointment of a three-judge district court pursuant to

28 U.S.C. § 2284(b). See ECF No. 68; see also ECF Nos. 58, 65. On August 10, 2020, the

Honorable Robert A. Katzmann, then the Chief Judge of the Second Circuit, designated Judges

Wesley and Hall to serve as the other members of a three-judge panel to hear these cases. See

ECF No. 82. Thereafter, the panel adopted the scheduling order previously entered by Judge

Furman alone. See ECF No. 86.

       Pursuant to that scheduling order, Plaintiffs filed their motion on August 7, 2020. See

ECF No. 74. Plaintiffs seek summary judgment (or, in the alternative, a preliminary injunction)

on only some of their claims, namely that the Presidential Memorandum violates the

Enumeration Clause and Fourteenth Amendment and constitutes an ultra vires violation of the

statutes governing the census and apportionment. See ECF No. 77 (“Pls.’ Mem.”), at 10-40.

Plaintiffs’ motion is supported by declarations of both fact and expert witnesses. See ECF No.

76 (“Colangelo Decl.”); ECF No. 149 (“Goldstein Decl.”).




                                                  18
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 19 of 86




       In response, Defendants did not ask to depose Plaintiffs’ declarants or request discovery

of any kind; nor did they seek a hearing. Instead, on August 19, 2020, they filed their opposition

to Plaintiffs’ motion and a cross-motion to dismiss. See ECF No. 117. To the extent relevant

here, they argue that the Court lacks jurisdiction to hear Plaintiffs’ claims because they are

unripe and Plaintiffs lack standing; that the Enumeration Clause and ultra vires claims fail

because the decision to exclude illegal aliens from the apportionment base is a lawful exercise of

the President’s discretion with respect to the census and apportionment; that Plaintiffs are not

entitled to injunctive relief because they cannot show irreparable harm; and that the President is

not a proper defendant. See ECF No. 118 (“Defs.’ Mem.”). On August 28, 2020, the motions

became fully briefed, see ECF No. 154 (“Defs.’ Reply”), and on September 3, 2020, the Court

held oral argument by telephone.

                            SUMMARY JUDGMENT STANDARD

       Summary judgment is appropriate where the admissible evidence and pleadings

demonstrate “no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.” Fed. R. Civ. P. 56(a); see also Johnson v. Killian, 680 F.3d 234, 236 (2d Cir.

2012) (per curiam). A dispute over an issue of material fact qualifies as genuine “if the evidence

is such that a reasonable jury could return a verdict for the nonmoving party.” Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 248 (1986); accord Roe v. City of Waterbury, 542 F.3d 31, 35

(2d Cir. 2008). The initial burden of establishing that no genuine factual dispute exists rests

upon the party seeking summary judgment. See Chambers v. TRM Copy Ctrs. Corp., 43 F.3d 29,

36 (2d Cir. 1994). If the moving party shows a prima facie entitlement to summary judgment,




                                                  19
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 20 of 86




“the burden shifts to the nonmovant to point to record evidence creating a genuine issue of

material fact.” Salahuddin v. Goord, 467 F.3d 263, 273 (2d Cir. 2006).

       In ruling on a motion for summary judgment, a court must view all evidence “in the light

most favorable to the non-moving party,” Overton v. N.Y. State Div. of Mil. & Naval Affs., 373

F.3d 83, 89 (2d Cir. 2004), and must “resolve all ambiguities and draw all permissible factual

inferences in favor of the party against whom summary judgment is sought,” Sec. Ins. Co. of

Hartford v. Old Dominion Freight Line, Inc., 391 F.3d 77, 83 (2d Cir. 2004). To defeat a motion

for summary judgment, the non-moving party must advance more than a “scintilla of evidence,”

Anderson, 477 U.S. at 252, and demonstrate more than “some metaphysical doubt as to the

material facts,” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 (1986).

The non-moving party “cannot defeat the motion by relying on the allegations in [its] pleading,

or on conclusory statements, or on mere assertions that affidavits supporting the motion are not

credible.” Gottlieb v. County of Orange, 84 F.3d 511, 518 (2d Cir. 1996) (internal citation

omitted).

                                  STANDING AND RIPENESS

       As noted, Plaintiffs move for summary judgment on two grounds: that Defendants’

decision to exclude illegal aliens from the apportionment base violates the Enumeration Clause

and the Fourteenth Amendment of the Constitution; and that it exceeds the authority granted by

Congress in the statutes that govern the census and congressional apportionment. See Pls.’ Mem.

10-40. Before reaching the merits of either argument, however, we must address Defendants’

contention that we lack jurisdiction. See, e.g., Steel Co. v. Citizens for a Better Env’t, 523 U.S.




                                                  20
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 21 of 86




83, 88-89 (1998) (noting that subject-matter jurisdiction cannot be assumed and is a “threshold

question that must be resolved . . . before proceeding to the merits”).

       Defendants argue and move to dismiss on the ground that we lack jurisdiction for two

reasons: because Plaintiffs fail to establish that they have standing to sue and because their

claims are not yet ripe. Where, as here, the question is whether a plaintiff’s injury is sufficiently

“real and concrete rather than speculative and hypothetical, the ripeness inquiry merges almost

completely with standing.” Thomas v. Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1138-

39 (9th Cir. 2000) (citation omitted); accord Susan B. Anthony List v. Driehaus, 573 U.S. 149,

157 n.5 (2014); Nat’l Org. for Marriage, Inc. v. Walsh, 714 F.3d 682, 688 (2d Cir. 2013)

(quoting Simmonds v. INS, 326 F.3d 351, 357 (2d Cir. 2003). Thus, courts often address them

together under the single umbrella term of “standing,” see, e.g., Susan B. Anthony List, 573 U.S.

at 157 n.5; Nat’l Org. for Marriage, 714 F.3d at 689 n.6, and we will do the same here. But

there is a second, arguably distinct form of ripeness doctrine that Defendants invoke: prudential

ripeness, which concerns whether a case that might qualify as a bona fide case or controversy is

nevertheless better decided later. See, e.g., Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559

U.S. 662, 670 n.2 (2010) (“Ripeness reflects constitutional considerations that implicate Article

III limitations on judicial power, as well as prudential reasons for refusing to exercise

jurisdiction.” (internal quotation marks and citation omitted)). We will begin with the issue of

standing — the toughest issue in this case — and then turn briefly to prudential ripeness.

A. The Law of Standing

       Article III of the Constitution limits the “judicial Power” of the United States to “Cases”

and “Controversies.” See U.S. Const. art. III, § 2. This means that all suits filed in federal court

must be “cases and controversies of the sort traditionally amenable to, and resolved by, the



                                                   21
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 22 of 86




judicial process.” Steel Co., 523 U.S. at 102. One way courts implement that requirement is by

ensuring that “at least one plaintiff” in any federal case has “standing.” Dep’t of Commerce v.

New York, 139 S. Ct. at 2565; see also Rumsfeld v. Forum for Acad. & Institutional Rights, Inc.,

547 U.S. 47, 52 n.2 (2006) (noting that, in a case with multiple plaintiffs, “the presence of one

party with standing is sufficient to satisfy Article III’s case-or-controversy requirement”).

Standing, in turn, is measured by a “familiar three-part test,” which requires a plaintiff to show

(1) “an injury in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and

(3) that is likely to be redressed by a favorable judicial decision.” Gill v. Whitford, 138 S. Ct.

1916 (2018) (quoting Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016)). The plaintiff must

make this showing “in the same way as any other matter on which the plaintiff bears the burden

of proof, i.e., with the manner and degree of evidence required at the successive stages of the

litigation.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992). To prevail on a motion for

summary judgment, therefore, “mere allegations of injury are insufficient. Rather, a plaintiff

must establish that there exists no genuine issue of material fact as to justiciability . . . .” House

of Representatives, 525 U.S. at 329; see Lujan, 504 U.S. at 561 (stating that, on summary

judgment, a plaintiff “can no longer rest on such ‘mere allegations,’” as at the pleading stage,

“but must ‘set forth’ by affidavit or other evidence ‘specific facts’” that demonstrate standing.

(quoting Fed. R. Civ. P. 56(e)).

       Injury in fact is “the first and foremost of standing’s three elements.” Spokeo, 136 S. Ct.

at 1547 (internal quotation marks, alterations, and citation omitted). “To establish injury in fact,

a plaintiff must show that he or she suffered an invasion of a legally protected interest that is

concrete and particularized and actual or imminent, not conjectural or hypothetical.” Id. at 1548

(internal quotation marks and citation omitted). Significantly, an injury “need not be actualized”



                                                   22
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 23 of 86




to satisfy Article III. Davis v. Fed. Election Comm’n, 554 U.S. 724, 734 (2008). Instead, a

“future injury” can suffice, so long as it is “certainly impending, or there is a substantial risk that

the harm will occur.” Susan B. Anthony List, 573 U.S. at 157 (internal quotation marks and

citation omitted); see also Clapper v. Amnesty Int’l USA, 568 U.S. 398, 414 n.5 (2013) (noting

that plaintiffs need not “demonstrate that it is literally certain that the harms they identify will

come about”); House of Representatives, 525 U.S. at 332-33 (finding standing “on the basis of

the expected effects . . . on intrastate redistricting” — namely, that certain jurisdictions were

“substantially likely . . . [to] suffer vote dilution”). Ultimately, the injury-in-fact requirement is

meant to “ensure that the plaintiff has a personal stake in the outcome of the controversy.” Susan

B. Anthony List, 573 U.S. at 158 (internal quotation marks and citation omitted).

        The second element requires proof that the plaintiff’s injury is “fairly traceable” to the

defendant’s challenged conduct. Put differently, “there must be a causal connection between the

injury and the conduct complained of — the injury has to be fairly traceable to the challenged

action of the defendant, and not the result of the independent action of some third party not

before the court.” Lujan, 504 U.S. at 560 (internal quotation marks, alterations, and citation

omitted). Importantly, “[p]roximate causation is not a requirement of Article III standing, which

requires only that the plaintiff’s injury be fairly traceable to the defendant’s conduct.” Lexmark

Int’l, Inc. v. Static Control Components, Inc., 572 U.S. 118, 134 n.6 (2014) (emphases added);

see also Rothstein v. UBS AG, 708 F.3d 82, 91 (2d Cir. 2013) (“[T]he ‘fairly traceable’ standard

is lower than that of proximate cause.”). Accordingly, “Article III ‘requires no more than de

facto causality.’” Dep’t of Commerce v. New York, 139 S. Ct. at 2566 (quoting Block v. Meese,

793 F.2d 1303, 1309 (D.C. Cir. 1986) (Scalia, J.)). Relatedly, for an injury to be “fairly

traceable” to a defendant’s conduct, that conduct need not be “the very last step in the chain of



                                                    23
         Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 24 of 86




causation.” Bennett v. Spear, 520 U.S. 154, 168–69 (1997). Indeed, as the Supreme Court

explained in finding that the plaintiffs challenging the decision to add a citizenship question to

the census had standing, when a “theory of standing” relies “on the predictable effect of

Government action on the decisions of third parties,” traceability is satisfied. Dep’t of

Commerce v. New York, 139 S. Ct. at 2566. This may be so “even when the decisions are

illogical or unnecessary.” New York v. U.S. Dep’t of Homeland Sec., 969 F.3d 42, 59 (2d Cir.

2020).

         Third and finally, a plaintiff’s injury must be “redressable” by the relief sought — that is,

“it must be likely, as opposed to merely speculative, that the injury will be redressed by a

favorable decision.” Lujan, 504 U.S. at 561 (internal quotation marks and citation omitted).

“[T]he very essence of the redressability requirement” is that a request for “[r]elief that does not

remedy the injury suffered cannot bootstrap a plaintiff into federal court.” Steel Co., 523 U.S. at

107. But if there is “a likelihood that the requested relief will redress the [plaintiff’s] injury,” the

requirement is satisfied. Id. at 103; see also Friends of the Earth, Inc. v. Laidlaw Env’t Servs.

(TOC), Inc., 528 U.S. 167, 185-86 (2000) (“[F]or a plaintiff who is injured or faces the threat of

future injury due to illegal conduct ongoing at the time of suit, a sanction that effectively abates

that conduct and prevents its recurrence provides a form of redress.”). Notably, the

redressability requirement does not require a plaintiff to show that the relief sought will remedy

all injuries alleged. Instead, “‘the relevant inquiry is whether . . . the plaintiff has

shown an injury to himself that is likely to be redressed by a favorable decision.’ In other words,

a plaintiff satisfies the redressability requirement when he shows that a favorable decision will

relieve a discrete injury to himself. He need not show that a favorable decision will relieve

his every injury.” Larson v. Valente, 456 U.S. 228, 243 n.15 (1982) (citations omitted) (quoting



                                                    24
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 25 of 86




Simon v. E. Ky. Welfare Rights Org., 426 U.S. 26 (1976)). Nor need the plaintiff prove that

judicial relief will remedy an injury entirely. It is enough that the “risk [of the alleged harm]

would be reduced to some extent if [the plaintiffs] received the relief they seek.” Massachusetts

v. E.P.A., 549 U.S. 497, 526 (2007); cf. Church of Scientology of Cal. v. United States, 506 U.S.

9, 13 (1992) (“Even though it is now too late to prevent, or to provide a fully satisfactory remedy

for, the [injury], a court does have power to effectuate a partial remedy.”).

B. Facts Relevant to Standing

       Plaintiffs press two categories of harm: (1) “harms stemming from the exclusion of

undocumented immigrants in the apportionment count”; and (2) “harms caused by the

Memorandum’s deterrent effect on census participation.” Pls.’ Reply 29. With respect to the

first category, the Presidential Memorandum’s express goal is to stop “[a]ffording congressional

representation, and therefore formal political influence, to States on account of” their illegal alien

population. Presidential Memorandum, 85 Fed. Reg. at 44,680. In particular, the Memorandum

itself anticipates that excluding illegal aliens from the apportionment count could reduce the

number of representatives in States with large immigrant populations, noting explicitly that in

“one State . . . home to more than 2.2 million illegal aliens,” id. — apparently, California, see

Pls.’ Rule 56.1 Statement ¶¶ 3-4 — the inclusion of illegal aliens could “result in the allocation

of two or three more congressional seats than would otherwise be allocated,” Presidential

Memorandum, 85 Fed. Reg. at 44,680. In addition to the Memorandum itself, Plaintiffs proffer

an expert analysis that concludes that the wholesale exclusion of illegal aliens from the

apportionment base “is likely to have substantial effects on the population counts of each state”

and, more specifically, “will almost certainly lead Texas to lose a seat in Congress”; would

“likely . . . lead California and New Jersey to lose a congressional seat”; and “could lead other



                                                   25
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 26 of 86




states, such as Arizona, Florida, New York, or Illinois, to lose seats.” ECF No. 76-58

(“Warshaw Decl.”), ¶ 11.

       With respect to the second category of harm, Plaintiffs submit a number of declarations

— uncontested by Defendants — demonstrating the Presidential Memorandum’s deterrent effect

on participation in the decennial census, particularly among noncitizens, immigrants, and their

family members, and, in turn, the adverse consequences that are likely to flow from that deterrent

effect. 7 The Presidential Memorandum deters census participation for at least two distinct

reasons. First, the Presidential Memorandum engenders fear and distrust among illegal aliens




7
        Although Defendants do not dispute the facts in Plaintiffs’ declarations, they argue that
the declarations are “impermissibly conjectural, conclusory, and hearsay.” Defs.’ Mem.
12. Defendants are correct to point out that we “may consider affidavits and other materials
beyond the pleadings to resolve the jurisdictional issue,” but “may not rely on conclusory or
hearsay statements contained in the affidavits.” New York v. U.S. Dep’t of Commerce, 315 F.
Supp. 3d 766, 780 (S.D.N.Y. 2018) (internal quotation marks omitted). But Plaintiffs’
declarations are not conclusory insofar as they describe with concrete detail the specific
experience of various non-governmental and governmental entities. By way of example, several
NGO Plaintiffs give specific and concrete evidence of the ways in which their operations have
shifted to respond to the Memorandum. See, e.g., ECF No. 76-18 (“Espinosa Decl.”), ¶ 14; ECF
No. 76-14 (“Choi Decl.”), ¶¶ 17, 20-21; ECF No. 76-26 (“Khalaf Decl.”), ¶ 15; ECF No. 76-36
(“Oshiro Decl.”), ¶ 12; ECF No. 76-47 (“Torres Decl.”), ¶¶ 22-23.
        Furthermore, although the declarations do contain some inadmissible hearsay (e.g., where
they report information secondhand), Defendants are incorrect in suggesting that, without it, the
declarations are insufficient to support a showing that “the Presidential Memorandum would
have an appreciable effect on the participation of illegal aliens” in the census. Defs.’ Mem. 14-
15. Many of the statements in Plaintiffs’ declarations recount comments made by immigrants in
response to the Presidential Memorandum, see, e.g., ECF No. 76-17 (“Cullinane Decl.”), ¶ 8;
ECF No. 149-3 (“Espinosa Supp. Decl.”), ¶ 5, which are admissible to prove state of mind, see
Fed. R. Evid. 803(3). Additionally, references in the declarations to third-party statements are
admissible to demonstrate the effect that these statements had on others — for example, that
NGO Plaintiffs diverted resources in response to deterred census participation. See, e.g., United
States v. Reed, 639 F.2d 896, 907 (2d Cir. 1981). Finally, the declarations also contain
information about the general atmosphere of fear, confusion, and apathy towards the census in
various communities, information that is based on declarants’ personal experiences working with
and in those communities; this information is not a “statement” and, thus, not hearsay. See Fed.
R. Evid. 801(a). In the discussion that follows, we rely on the declarations only to the extent
they are admissible.

                                                 26
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 27 of 86




and their families (and, more broadly, all noncitizens and their families), and deters these groups

from participating in the census out of fear of providing the federal government with information

by which their citizenship status may be ascertained (and any resulting adverse consequences).

Second, because the Presidential Memorandum announces that it is United States policy “to

exclude from the apportionment base aliens who are not in a lawful immigration status,”

Presidential Memorandum, 85 Fed. Reg. at 44,680 — the “primary purpose of the census,” New

York v. Dep’t of Commerce, 351 F. Supp. 3d at 561 — illegal aliens may decide not to participate

in the census on the theory that they do not count for any purpose or on the theory that there is

little upside to being counted.

        Several agency and non-profit organization leaders in charge of census outreach

programs attest that many illegal aliens have expressed concern over, or outright refused to

participate in, the census as a result of the Presidential Memorandum, both because they are

apprehensive that the data will be used in immigration enforcement and because they perceive

their participation as ultimately futile in light of the President’s explicit exclusion of illegal aliens

for the purposes of apportionment. See, e.g., ECF No. 76-4 (“Baldwin Decl.”), ¶ 8; ECF No. 76-

5 (“Banerji Decl.”), ¶ 5; Brower Decl. ¶ 11; Cullinane Decl. ¶ 8. Other immigrant respondents

have expressed concern that “the Trump Administration would punish undocumented persons

who filled out the Census by tracking and deporting them.” See, e.g., ECF No. 76-30 (“Matos

Decl.”), ¶¶ 9-13 (describing Delaware-based census advocacy program’s increased need to quell

community fears that, in light of the Presidential Memorandum, responding to the census will

result in deportation or bar Latinos from obtaining citizenship).

        Notably, Plaintiffs’ evidence indicates that the effects of the Presidential Memorandum

are likely to be felt beyond the illegal alien population. “Excluding undocumented immigrants



                                                    27
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 28 of 86




from the apportionment base will deter Census participation among the broader immigrant

community, including family and household members of undocumented immigrants who are

actually citizens or non-citizens with legal status.” Espinosa Decl. ¶ 11; see also Khalaf Decl.

¶ 12 (“[S]ignificant fear and increased distrust about the Census . . . [is] not limited to

undocumented immigrants or other non-citizens, but also to family, household members, friends,

and community members of non-citizens, people for whom the new policy articulated in the

Memorandum has generated fear about responding at all . . . .”). Of particular concern is the

response in “mixed status households” — that is, households consisting of illegal aliens and

residents with lawful status — where concerns about the security of identifying information

being shared with the federal government are prevalent. See, e.g., Espinosa Decl. ¶ 12

(describing a fear among individuals from mixed status households that “the Presidential

Memorandum’s exclusion of people ‘not in lawful immigration status’ from the census base

count indicates that the Administration will use information from the census to attempt to

identify undocumented immigrants for deportation or other adverse consequences”). “Even

U.S.-born citizen Puerto Rican residents are confused” by the Presidential Memorandum. ECF

No. 76-16 (“Colón Decl.”), ¶ 11.

       In addition to this extensive — and undisputed — record of fact witness testimony,

Plaintiffs provide expert analyses describing the fear and confusion generated by the Presidential

Memorandum among hard-to-count communities and the resultant chilling effect on census

participation. See ECF No. 76-56 (“Barreto Decl.”), ¶ 14 (surveying research on the impact of

media messages on immigrant communities’ trust in government and the impact of those

communities’ trust on census response rates and concluding that “the July 21 [Presidential

Memorandum] will reduce participation in the 2020 census, and ultimately will reduce the



                                                   28
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 29 of 86




accuracy of the 2020 census”); ECF No. 76-57 (“Thompson Decl.”), ¶ 3 (concluding that the

Presidential Memorandum “will significantly increase the risk of larger total and differential

undercounts, relative to previous censuses, for the hard-to-count populations, including

immigrant communities”). 8

       In short, the record supports a conclusion that the Presidential Memorandum has created,

and is likely to create, widespread confusion among illegal aliens and others as to whether they

should participate in the census, a confusion which has obvious deleterious effects on their

participation rate. See ECF No. 76-1 (“Alvarez Decl.”), ¶ 10 (reporting “an increase in

confusion amongst immigrant communities after” Memorandum was issued); see also Baldwin

Decl. ¶ 8; ECF No. 76-9 (“Bird Decl.”), ¶ 9. As John Thompson, the former Director of the

Census Bureau, predicts, “the effects of the Memorandum on the current macro environment are

likely to be as great if not greater than the addition of a citizenship question.” Thompson Decl.

¶ 23 (emphasis added); see also Barreto Decl. ¶ 29. And the Census Bureau’s own advertising




8
         Defendants fault Dr. Barreto for failing to consider a 2019 study conducted by the Census
Bureau, ELIZABETH A. POEHLER ET AL., U.S. CENSUS BUREAU, 2019 CENSUS TEST REPORT: A
NEW DESIGN FOR THE 21ST CENTURY (Jan. 3, 2020), https://www2.census.gov/programs-
surveys/decennial/2020/program-management/census-tests/2019/2019-census-test-report.pdf
(“2019 Census Test Report”), which found “no statistically significant difference in overall self-
response rates” resulting from the inclusion of a citizenship question on the census questionnaire.
Id. at ix; see Defs.’ Mem. 13. But that study, which is not directly relevant to the issues before
us, is less useful for Defendants than their arguments suggest, as there are findings that both
sides can and do point to in support of their positions. In fact, the same study did find
statistically significant drops in response rates “in some areas and for some subgroups,”
including “[t]racts with greater than 4.9 percent noncitizens,” “[t]racts with greater than 49.1
percent Hispanic residents,” “[t]racts with between 5.0-20.0 percent Asian residents,” and
“[h]ousing units within the Los Angeles Regional Census Center and New York Regional
Census Center boundaries.” Id. at ix-x. Furthermore, “the results of this [study] [we]re limited
to the self-response timeframe prior to the start of” Non-Response Follow-Up operations, id. at
12, and there is reason to believe that each of Non-Response Follow-Up’s steps would replicate
or exacerbate the effects of the net differential decline in self-response rates among noncitizen
households, see New York v. Dep’t of Commerce, 351 F. Supp. 3d at 583.

                                                 29
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 30 of 86




initiatives will struggle to ward off these effects even with “messag[ing] that respondent

information is confidential” and that “[t]he Census Bureau will not share it with any outside

entities, including law and immigration enforcement.” Thompson Decl. ¶ 21.

       These deterrent effects have far-reaching ramifications, including increasing costs for

census outreach programs run by NGOs and governments. Indeed, the NGO Plaintiffs have

already diverted resources from their other important programs to shore up their census

engagement efforts. For example, Plaintiff FIEL “has recently had to refocus its programming

and commit additional resources to its Census work,” and “expects that it will need to interact

with its constituents multiple times to answer questions and try to convince them to participate in

the 2020 Census.” Espinosa Decl. ¶ 14; see also ECF No. 76-44, (“Sivongxay Decl.”), ¶ 18

(“[A]dditional one-on-one conversations and relational outreach are necessary to maintain trust

among communities and census partners to ensure confidence that census information will

remain confidential and that there are still important benefits to responding to the census, such as

ensuring receipt of critical federal funding.”). Because the Presidential Memorandum “dilutes

the efficacy” of the efforts by Plaintiff New York Immigration Coalition (“NYIC”) to ensure

immigrants are counted in the census, NYIC will have “to divert resources from other

programmatic areas to conduct additional education and outreach to get the same number of

people to respond to the Census questionnaire.” Choi Decl. ¶ 17. Specifically, NYIC has had to

“make new materials”; “conduct new outreach”; “engage[] in member updates, press releases,

[and] press briefings”; “develop[] messaging and social media campaigns”; and “respond to

inquiries from local media . . . to assure people” that every person should respond to the Census.

Id. In other words, “NYIC expects that it will need to interact with its constituents more times

than previously planned to try to convince them to participate in the 2020 census” as a result of



                                                  30
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 31 of 86




the Presidential Memorandum. Id. ¶ 20. It estimates that the organization “will have to increase

staff time and spending devoted to its Census education and outreach efforts by approximately

20% percent over previously anticipated levels.” Id. ¶ 21.

       Plaintiffs American-Arab Anti-Discrimination Committee (“ADC”) and ADC Research

Institute (“ADRCI”) have also had to divert resources away from other programmatic areas,

including critical programs responding to COVID-19 issues. Khalaf Decl. ¶ 15. In response to

the Presidential Memorandum’s messaging, ADC and ADRCI will “increase staff time and

spending devoted [to] its Census education and outreach efforts by approximately 25[] percent

over current levels,” id. ¶ 14, while the national president of both organizations reports that he

“personally spent at least 35 hours on Census-related work since the release of the [Presidential]

Memorandum” that he would have otherwise spent on other tasks related to the operation and

mission of both organizations, id. ¶ 15. Plaintiff Ahri similarly will increase staff time and

spending devoted to census education and outreach by approximately fifteen percent in response

to the chilling effects of the Presidential Memorandum. ECF No. 76-43 (“Seon Decl.”), ¶ 17.

According to Theo Oshiro, Deputy Director at the non-profit Make the Road New York

(“MRNY), the Presidential Memorandum also “dilutes the efficacy of [MRNY’s] existing

materials and programming, which requires MRNY to divert resources from other programmatic

areas to strategize around how to make [its] education and outreach effective and to get the same

number of people to respond to the Census questionnaire” as they would have absent the

Memorandum. Oshiro Decl. ¶ 12. Finally, Plaintiff CASA also has had to “devote additional

resources to addressing the confusion and fear that have resulted” from the Presidential

Memorandum, including having “to reorganize its communication team, reassign staff to Census

outreach and education, and revise and redistribute messaging materials.” Torres Decl. ¶¶ 22-23.



                                                  31
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 32 of 86




       The Governmental Plaintiffs have also had to divert resources from other programs to

mitigate the confusion caused by the Presidential Memorandum. Plaintiff Illinois, for example,

has already had to spend funds on digital ads specifically designed to address misinformation

about the census, has created printed materials to be distributed, and has produced social media

videos and other digital communications to reassure the immigrant community about the

importance of the census. Alvarez Decl. ¶ 12. Plaintiff Vermont, through its 2020 Complete

Count Committee, has — in direct response to the Presidential Memorandum — provided “mini-

grants” to increase outreach to hard-to-count communities, conducted additional open

educational meetings, provided additional multilingual public service announcements, and

otherwise promoted census participation. ECF No. 76-10 (“Broughton Decl.”), ¶ 7. Plaintiff

Monterey County will “have to dedicate significant resources to ensure participation without

fear” so that the County receives its proper census-based funding. ECF No. 76-28 (“Lopez

Decl.”), ¶ 18; see also ECF No. 76-12 (“Bysiewicz Decl.”), ¶ 11 (describing efforts by Plaintiff

Connecticut to encourage full census participation after the Presidential Memorandum caused

“confusion”).

       The Memorandum’s chilling effect on census participation will likely also degrade the

census data, harming state and local governments that rely on the data to carry out their public

functions. As Dr. Joseph Salvo, Chief Demographer of New York City, explained, “the July 21,

2020 Presidential memorandum is likely to make the Census Bureau resort to less-reliable

methods, including statistical imputation, more frequently in immigrant communities than it

otherwise would.” Salvo Decl. ¶ 12. Specifically, when individuals fail to participate in the

census themselves, the Census Bureau will sometimes rely on “proxy respondents,” like

neighbors, landlords, and postal workers. See GLENN WOLFGANG ET AL., U.S. CENSUS BUREAU,



                                                 32
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 33 of 86




ANALYSIS OF PROXY DATA IN THE ACCURACY AND COVERAGE EVALUATION 1 (2003), https://

www.census.gov/pred/www/rpts/O.5.PDF. Reliance on proxy responses “degrade[s] the quality

of the data” and its usability, since proxy respondents often leave some questions unanswered

and report information less accurately than household respondents. Brower Decl. ¶¶ 12-13

(discussing, for example, the phenomenon of “age heaping” where data on the age of individuals

tends to be reported in numbers ending in 5 or 0 when a proxy is the respondent because the

proxy merely estimates the age of the individual). Further, if census data are not available

through proxy responses, demographers are forced to resort to data imputation, which itself is

reliable only when calculated using a sufficiently high self-response rate. See ECF No. 76-21

(“Hardcastle Decl.”), ¶ 5. Lower response rates also increase the margins of error in statistical

calculations, degrading the utility of census response data and restricting Plaintiffs’ ability to rely

on the data for, inter alia, governmental planning purposes. See ECF No. 76-25 (“Kaneff

Decl.”), ¶¶ 3-5.

       Indeed, degraded census data jeopardizes various sovereign interests in allocating funds

and administering public works through programs that rely on quality census data. Connecticut,

for example, relies on accurate characteristic data, meaning data on subgroups within the

population, for a wide variety of purposes, including deciding where to locate COVID-19 testing

sites, the evaluation of requests for school construction funds, the promulgation of affirmative

action plans for state agencies using data-driven goals and benchmarks, effective forecasting for

public transit planning, and others. See ECF No. 76-31 (“McCaw Decl.”) ¶¶ 4-7. Similarly, Dr.

Salvo explains that “[t]he decennial census is the statistical backbone of our country” and that,

like Connecticut, New York City relies on accurate characteristic data about subgroups to make




                                                   33
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 34 of 86




decisions about public health programs and education investments, as well as emergency

preparedness planning and provision of targeted services for the elderly. Salvo Decl. ¶¶ 13-17.

       Other examples abound in the record. In Monterey County, California, for example, the

Department of Social Services is responsible for administering cash and non-cash programs that,

among other things, provide supplemental food assistance, California’s Medicaid program, foster

care, adoption and aging assistance, and temporary assistance to needy families. ECF No. 76-32

(“Medina Decl.”), ¶ 2. That department relies on accurate census data in making its funding

allocation decisions. Id. ¶ 4. Any undercounting of undocumented immigrants caused by the

Presidential Memorandum will not only “impact the formulas used for funding allocations” for

these basic living assistance programs, but will also result in the loss of federal funding, “which,

in turn, will add extra financial burden on local governments, resulting in even fewer available

resources to assist families with food, housing, health, and other support and safety net services.”

Id.; see also, e.g., ECF No. 76-33 (“Mohammed Decl.”), ¶¶ 5-6 (describing how the census

directly impacts funding for the City of Pittsburgh and “provides the most reliable and complete

data for research, decision making and planning in City government”); ECF No. 76-39

(“Rodriguez Decl.”), ¶ 3 (describing how Illinois’s Workforce Innovation and Opportunity Act

Program, which provides services to help certain populations overcome barriers to employment,

depends on accurate census data to identify the targeted population levels); ECF No. 76-46

(“Sternesky Decl.”), ¶ 5 (“Census data deeply influences the way that [the New Jersey Housing

and Mortgage Finance Agency] designs and plans for the allocation of housing funds across the

state. For example, the Agency uses income, poverty, employment, housing density, and

housing vacancy data from the Census to direct its annual $20 million to $25 million allocation

of federal 9% Low-Income Housing Tax Credits (LIHTC). These credits are then used to



                                                  34
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 35 of 86




leverage roughly a ten-fold influx of private investment into equity for development costs to both

high-opportunity and high-need areas of New Jersey.”); ECF No. 76-50 (“Wortman Decl.”),

¶¶ 3, 6 (describing how Illinois determines funding for each county based on an “index of need”

and how “[u]nderrepresentation of areas with a higher percentage of immigrants will result in

disproportionate levels of funding being allocated to counties with less demographic diversity”).

       Plaintiff Washington State will also be negatively impacted if it is forced to use

inaccurate census data. Washington allocates $200 million “of state shared revenues . . . to

counties and cities on a per capita basis annually” and uses decennial census data for its

demographic estimates and annual population forecasts. Baldwin Decl. ¶¶ 14, 17. “[B]ad data

will certainly lead to inaccurate distribution of funding within Washington, impacting all levels

of government for a decade.” Id. ¶ 15. “Poor quality census data will [also] harm Washington’s

ability to carry out the population data functions required by law both in the short term and the

long term.” Id. ¶ 28. In particular, Washington annually creates a thirty-year population

forecast, meaning that the 2020 census data will be used in forecasting until at least the 2050

census data is available, if not longer. See id. ¶ 25. Because “many estimate and forecast models

rely on information about changes in trends over time,” “[a]n inaccurate census this year will

change the relationships in the data between censuses and make all future estimates and forecasts

based on these trends less accurate.” Id.

       Finally, the undisputed facts in the record also reflect that judicial relief invalidating the

Presidential Memorandum would likely reduce the confusion felt by immigrant communities and

therefore alleviate some of the injuries being felt by Plaintiffs. For example, Plaintiff FIEL

anticipates that “a court order that stops the exclusion of undocumented immigrants from the

census would make [its] efforts to encourage census participation easier by allowing [FIEL] to



                                                   35
          Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 36 of 86




clarify the confusion and help ease the fear caused by” the Presidential Memorandum, and that

“it would take FIEL less time and fewer resources to convince” the community “to participate in

the census.” Espinosa Supp. Decl. ¶ 3. Relief would also help Plaintiff MRNY “conduct more

efficient and effective census outreach” because MRNY could clarify to community members

that everyone should, in fact, be counted. ECF No. 194-4 (“Oshiro Supp. Decl.”), ¶ 5. And

relief from this Court would also allow Plaintiff Ahri to “publicize the Court’s order to

encourage [its] community to open their doors to census outreach workers, rather than hiding out

of confusion or fear and avoiding the census completely.” ECF No. 194-5 (“Seon Supp. Decl.”),

¶¶ 6-7.

C. Standing Analysis

          As noted, Plaintiffs allege two types of harm: apportionment harms stemming directly

from the exclusion of illegal aliens from the apportionment base and harms caused by the

deterrent effect on census participation. We have considerable doubt that the former suffices to

establish jurisdiction. To be sure, if any Plaintiff could show that, as a result of the Presidential

Memorandum, it was likely to lose one or more seats in the House of Representatives, it would

surely have standing. See, e.g., House of Representatives, 525 U.S. at 331 (holding that the loss

of a seat or seats in the House of Representatives “undoubtedly satisfies the injury-in-fact

requirement of Article III standing”). But as of today, it is not known whether that harm will

come to pass, as the Secretary has not yet determined how he will calculate the number of illegal

aliens in each State or even whether it is “feasible” to do so at all. Oral Arg. Tr. 35-37. In the

absence of that information, Plaintiffs’ first theory of harm is likely “too speculative for Article

III purposes.” Clapper, 568 U.S. at 409 (internal quotation marks omitted). Nor, for these

purposes, would there be any harm in waiting until January 2021, when the impact, if any, of the



                                                   36
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 37 of 86




Presidential Memorandum would be known, as the Supreme Court has held that an illegal

apportionment can be remedied even after the apportionment process has taken place. See Utah

v. Evans, 536 U.S. 452, 462-63 (2002).

       Ultimately, however, we need not, and do not, decide the issue because we conclude that

Plaintiffs’ second theory of harm — that the Presidential Memorandum will have and, indeed, is

already having, an effect on the census count itself — suffices to establish standing. Critically,

this theory of harm does not depend on what, if anything, the Secretary does in the future to

implement the President’s mandate in the Presidential Memorandum. Instead, it is based on

Plaintiffs’ undisputed evidence that the Presidential Memorandum is affecting the census count

in the present. That is, while the apportionment harms may well be too remote and hypothetical

to support standing, the harms to the census count are “certainly impending” and do not depend

on “a highly attenuated chain of possibilities.” Clapper, 568 U.S. at 410. Notably, Defendants

do not argue otherwise. Instead, they contend that Plaintiffs’ second theory of harm is too

“speculative” in a different sense: because Plaintiffs’ evidence is inadequate to prove that the

Presidential Memorandum has caused (or will cause) anyone to opt out of participating in the

census or that judicial relief would redress that harm. See Defs.’ Mem. 11-19. In defense

counsel’s view, Plaintiffs should be required “to identify some subset of people who would not

have been chilled . . . from answering the census between April 1st and July 21st, then became

chilled on July 21st after the memorandum was issued, and then will be unchilled in [the time

remaining before the census ends] by an order of this Court.” Oral Arg. Tr. 38; see also Defs.’

Mem. 52 (citing lack of “rigorous survey[s] or statistical stud[ies] measuring whether [the

Presidential Memorandum] . . . has any effect on response rates within immigrant

communities”).



                                                  37
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 38 of 86




       Defendants’ vastly overstate Plaintiffs’ burden. The law does not require Plaintiffs to

submit a randomized control trial or other rigorous statistical analysis demonstrating beyond

peradventure that there are people who would have participated in the census but for the

Presidential Memorandum and who would participate again if we were to grant Plaintiffs the

relief they seek. Nor do Plaintiffs need to submit declarations specifically identifying such

people, let alone submit declarations from such people. Instead, Plaintiffs need only demonstrate

that “there is no genuine dispute as to any” fact material to the standing analysis. Fed. R. Civ. P.

56(a). Notably, in determining whether this standard has been met, we may rely not only on the

declarations submitted by Plaintiffs in support of their motion, but also on common sense, basic

economics, and reasonable inferences. See, e.g., Friends of the Earth, 528 U.S. at 183-85

(determining that “sworn statements . . . adequately documented injury in fact” where the

proposition they were offered for was “entirely reasonable”); Citizens for Responsibility & Ethics

in Wash. v. Trump (CREW), 953 F.3d 178, 198 (2d Cir. 2019) (noting that a court may rely on

“common sense and basic economics” in evaluating standing (internal quotation marks

omitted)); Nat. Res. Def. Council v. Nat’l Highway Traffic Safety Admin., 894 F.3d 95, 104-05

(2d Cir. 2018) (relying on the defendant agency’s “own pronouncements,” as well as “[c]ommon

sense and basic economics,” to find standing (internal quotation marks omitted)); Carpenters

Indus. Council v. Zinke, 854 F.3d 1, 6 (D.C. Cir. 2017) (Kavanaugh, J.) (“When performing that

inherently imprecise task of predicting or speculating about causal effects [in standing analysis],

common sense can be a useful tool.”); Texas v. United States, 809 F.3d 134, 156 (5th Cir. 2015)

(finding that Texas had established the necessary causal connection between the Deferred Action

for Parents of Americans and Lawful Permanent Residents (“DAPA”) program and a future

injury because DAPA would have “enable[d]” third parties “to apply for driver’s licenses” and



                                                  38
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 39 of 86




there was “little doubt that many would do so”), aff’d by an equally divided Court, 136 S. Ct.

2271 (2016) (per curiam).

       Requiring Plaintiffs to do more would be particularly inappropriate here for two reasons.

First, “the integrity of the census is a matter of national importance. As noted, the population

count has massive and lasting consequences. And it occurs only once a decade, with no

possibility of a do-over if it turns out to be flawed.” New York v. Dep’t of Commerce, 351 F.

Supp. 3d at 517; see Departments of Commerce, Justice, and State, the Judiciary, and Related

Agencies Appropriations Act, 1998 (“1998 Appropriations Act”), § 209(a)(8), Pub. L. No. 105-

119, 111 Stat. 2440, 2480-81 (1997) (“Congress finds that . . . the decennial enumeration of the

population is a complex and vast undertaking, and if such enumeration is conducted in a manner

that does not comply with the requirements of the Constitution or laws of the United States, it

would be impracticable for the States to obtain, and the courts of the United States to provide,

meaningful relief after such enumeration has been conducted.”). Second, Defendants’ own

conduct has forced Plaintiffs’ hands. That is, for reasons that are unclear, the President waited

until July 21, 2020, when the census was in full swing, to issue his Presidential Memorandum.

Compounding matters, Defendants announced less than two weeks later that they were ending

the census earlier than previously planned. The combination of the two meant that Plaintiffs had

to rush to court and seek immediate relief; had they waited to develop more rigorous proof of

their standing, their arguments about harms to the census count itself would have become moot.

Between the sheer enormity of what is at stake and the fact that Defendants’ own conduct gave

Plaintiffs only a narrow window in which to seek effective relief, it would be the height of

unfairness to hold Plaintiffs to the heightened burden of proof that Defendants endorse.

       In light of the undisputed facts in the record, common sense, and basic economics, we are



                                                  39
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 40 of 86




satisfied that — with their second theory of harm — Plaintiffs adequately show injury in fact,

traceability, and redressability and that we have before us an actual case or controversy “of the

sort traditionally amenable to, and resolved by, the judicial process.” Steel Co., 523 U.S. at 102.

Moreover, Defendants “have failed to set forth any specific facts showing that there is a genuine

issue of standing for trial.” House of Representatives, 525 U.S. at 330.

   1. Injury in Fact

       To begin, Plaintiffs have proved that, in the wake of the Presidential Memorandum, some

number of people will not participate in, and thus not be counted in, the census. As of August 3,

2020 — the day the Census Bureau announced that field operations would end a month earlier

than previously planned, and approximately two weeks after the Presidential Memorandum was

issued — the Census Bureau had counted only about sixty-three percent of households in the

2020 census. See Statement from U.S. Census Bureau Director Steven Dillingham: Delivering a

Complete and Accurate 2020 Census Count, U.S. CENSUS BUREAU (Aug. 3, 2020), https://www.

census.gov/newsroom/press-releases/2020/delivering-complete-accurate-count.html. Many of

those not counted are undoubtedly in the “hard to count” population, which includes immigrant

and Hispanic populations as well as illegal aliens. See New York v. Dep’t of Commerce, 351 F.

Supp. 3d at 577. The record in the citizenship question litigation and the declarations here make

clear that this population is even “harder” to count during this census due to widespread

concerns, fueled by the policies and rhetoric of this Administration, that census data will be used

for immigration enforcement purposes. See id. at 562, 579-83; Colón Decl. ¶ 11; Oshiro Decl.

¶¶ 12, 14; Seon Decl. ¶ 16; Barreto Decl. ¶¶ 60-62. Plaintiffs’ uncontested declarations and

common sense indicate that the Presidential Memorandum has compounded, and will compound,

these concerns, and that some number of people in these communities will choose not to



                                                 40
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 41 of 86




participate in the census and take steps to avoid being counted. See, e.g., Cullinane Decl. ¶ 8;

Espinosa Supp. Decl. ¶ 5. To be sure, on the present record, the Court cannot calculate with

precision the number of people that will be so affected. But there is no doubt that that number is

greater than zero, and there is a substantial likelihood that an appreciable number of people will

be dissuaded from participating in the census. See Barreto Decl. ¶¶ 60-65.

       From these ongoing and direct effects on the census flow several forms of injury to

Plaintiffs and their members or citizens. First, insofar as Plaintiffs include or represent high

concentrations of immigrant and Hispanic populations, the effects on the census undoubtedly

create a risk of a net differential undercount that could result in the loss of political power and

federal funds, two classic forms of Article III injury. See New York v. Dep’t of Commerce, 351

F. Supp. 3d at 607-08; Carey v. Klutznick, 637 F.2d 834, 838 (2d Cir. 1980) (per curiam);

Barreto Decl. ¶¶ 70-71; Thompson Decl. ¶¶ 13-17. Given the time sensitivities inherent in their

claims of census-related injuries — there were little more than two months remaining for census

operations when the President issued the Presidential Memorandum and, less than two weeks

later, Defendants shortened that period by a full month — Plaintiffs have obviously not had an

opportunity to perform any sort of empirical study on the size of the likely effects on the census

that would reveal the likelihood of such injuries. In any event, the likelihood of two other forms

of injury are more certain on the current record: degradation of the quality of, and ability to have

confidence in, census data and diversion by the NGO Plaintiffs of organizational resources.

       a. Degradation of Census Data

       First, if a portion of the population does not participate in the census count, it will

inevitably degrade the quality and accuracy of census data, even if only at the subgroup or local

level. Salvo Decl. ¶¶ 8-12. That is particularly true if, as is the case here, the people who are not



                                                   41
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 42 of 86




counted are not evenly distributed across the population, but are concentrated, either

geographically or demographically. See Barreto Decl. ¶ 83; Thompson Decl. ¶¶ 15-17, 23. The

degradation of census data, in turn, harms the Governmental Plaintiffs’ ability to allocate

resources, such as educational and public health resources, efficiently and effectively. See

McCaw Decl. ¶¶ 3-6; Medina Decl. ¶¶ 2-4; Baldwin Decl. ¶¶ 15-28. Separate and apart from

that, it harms confidence in the census data. See Kaneff Decl. ¶ 5 (“The lower the response rate,

the larger the margin of error in the demographic characteristics.”). Crucially, these harms will

occur whether or not there is a net differential undercount — meaning that this theory of injury

does not depend on connecting the deterrent effect of the Presidential Memorandum on

immigrant households and the like to a net differential undercount of people who live in such

households. See New York v. Dep’t of Commerce, 351 F. Supp. 3d at 610-11; Salvo Decl. ¶¶ 14-

18.

       As explained in New York v. Department of Commerce, the degradation of census data is

a legally cognizable form of injury sufficient to support standing. See 351 F. Supp. 3d at 610-15.

In particular, a State or local government that relies on the information provided by the federal

government under an existing statutory arrangement suffers a sufficiently “concrete” and

“particularized” injury for purposes of Article III when the federal government degrades the

quality of that information. States are sovereign entities with sovereign interests in the making

and enforcement of their own laws. See Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez,

458 U.S. 592, 601 (1982); cf. Maryland v. King, 567 U.S. 1301 (2012) (Roberts, C.J., in

chambers) (concluding that Maryland suffered an injury to its “law enforcement and public

safety interests” from a lower-court order preventing the State from utilizing DNA samples for

law enforcement purposes pursuant to a state statute). But they frequently do so in collaboration



                                                  42
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 43 of 86




with, or in reliance on, the federal government — such is the genius of the federal system, which

has historically embraced various creative models of “cooperative federalism.” See, e.g., New

York v. United States, 505 U.S. 144, 167-69 (1992); Hodel v. Va. Surface Mining & Reclamation

Ass’n, Inc., 452 U.S. 264, 286-89 (1981). States have long relied on federal decennial census

data for countless sovereign purposes, and indeed many of the State Plaintiffs here even require

the use of such data by law; in some instances, it is written into their state constitutions. See,

e.g., Rapoza Decl. ¶ 5 (explaining that the Rhode Island Constitution mandates using census data

to establish the House and Senate districts); Brower Decl. ¶¶ 17, 22-23 (explaining that

Minnesota law requires the use of census data to determine funding for roads and education).

        Meanwhile, by virtue of the Constitution and the Census Act, it is, of course, the federal

government’s job to collect and distribute accurate federal decennial census data. See U.S.

Const. art. I, § 2, cl. 3; see also Evans, 536 U.S. at 478 (explaining that the Framers had a “strong

constitutional interest in [the] accuracy” of the census); Wisconsin v. City of New York, 517 U.S.

1, 20 (1996) (holding that the conduct of the census must bear a “reasonable relationship to the

accomplishment of an actual enumeration of the population, keeping in mind the constitutional

purpose of the census,” namely, obtaining an accurate count of the population in each State);

1998 Appropriations Act, Pub. L. No. 105-119, § 209(a)(6), 111 Stat. at 2481 (“Congress finds

that . . . it is essential that the decennial enumeration of the population be as accurate as possible,

consistent with the Constitution and laws of the United States . . . .”). When the federal

government degrades the quality of that data, it therefore inflicts a cognizable injury on the

sovereign interests of reliant States. 9




9
        That does not mean that, in every case, a State will have a “right” to such data — or a
right to data of a certain quality — sufficient to support a valid cause of action to obtain it. But it

                                                   43
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 44 of 86




       An example may be helpful in illustrating the point. Suppose a State were to premise

certain of its policies on a person’s lawful presence in the United States — for example, suppose

that it chose to deny certain benefits to undocumented immigrants or required its law-

enforcement officials to inquire into the immigration status of any person detained in state

custody for any reason. “The accepted way” for States “to perform [such] status checks” — and

surely the most reliable — is to contact the DHS’s Immigration and Customs Enforcement

(“ICE”), the federal agency that accepts and responds to such inquiries from interested States.

Arizona v. United States, 567 U.S. 387, 411 (2012). Now suppose that ICE were to degrade the

quality of its data set, thereby undermining its usefulness to the State as a tool for implementing

its policy priorities. If this hypothetical State were to challenge the decisions causing the

degradation in immigration-status data, the federal agency could certainly defend its actions on

the grounds that they were lawful. But could it seriously deny that the State had suffered a

cognizable injury for purposes of standing? Surely not.

       Indeed, ample case law supports the proposition that a State has a strong sovereign

interest in conducting its own policy, the burdening of which causes an injury in fact for Article

III purposes. One such sovereign interest is a State’s “exercise of sovereign power over

individuals and entities within [its] jurisdiction — this involves the power to create and enforce a

legal code, both civil and criminal.” Alfred L. Snapp & Son, 458 U.S. at 601. Another such

sovereign interest — which, in light of the frequent prohibition on parens patriae suits against

the federal government, see Massachusetts v. Mellon, 262 U.S. 447, 485-86 (1923), is “distinct

from . . . the general well-being of its residents” — is a State’s “interest in securing observance




does mean that a State suffers a concrete and particularized injury when the federal government
degrades important tools of sovereignty — or takes those tools away altogether.

                                                  44
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 45 of 86




of the terms under which it participates in the federal system,” Alfred L. Snapp & Son, 458 U.S.

at 607-08; cf. Maine v. Taylor, 477 U.S. 131, 137 (1986) (“[A] State clearly has a legitimate

interest in the continued enforceability of its own statutes.”); Diamond v. Charles, 476 U.S. 54,

65 (1986) (“Because the State alone is entitled to create a legal code, only the State has the kind

of ‘direct stake’ . . . in defending the standards embodied in that code.”).

       The Fifth Circuit’s decision in Texas v. United States, 809 F.3d 134, is instructive on this

front. In that case, Texas led a coalition of States in a challenge to the Obama Administration’s

DAPA program. The Court held that the States had suffered a cognizable injury for purposes of

standing because DAPA would have entitled its recipients to obtain driver’s licenses under

existing state law and providing those licenses would have come at a financial cost to Texas. See

id. at 155-56. In denying a stay of the district court’s preliminary injunction pending appeal, the

Fifth Circuit cited Alfred L. Snapp & Son, explained that Texas possessed a sovereign interest in

the maintenance of its own legal code, and held that “Texas’s forced choice between incurring

costs and changing its laws is an injury because those laws exist for the administration of a state

program, not to challenge federal law, and Texas did not enact them merely to create standing.”

Texas v. United States, 787 F.3d 733, 749 (5th Cir. 2015). The court reasoned that “if pressure to

change state law in some substantial way were not injury, States would have no standing to

challenge bona fide harms because they could offset most financial losses by raising taxes or

fees.” Id. Several months later, the Fifth Circuit affirmed the preliminary injunction on the

merits, reiterating and confirming its conclusions as to standing. The court held that “states may

have standing based on . . . federal interference with the enforcement of state law, at least where

the state statute at issue regulates behavior or provides for the administration of a state program

and does not simply purport to immunize state citizens from federal law.” Texas, 809 F.3d at



                                                   45
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 46 of 86




153 (alterations, footnotes, and internal quotation marks omitted). Such “intrusions,” the court

explained, “are analogous to pressure to change state law.” Id.

       Like the state plaintiffs in Texas, many Governmental Plaintiffs here have enacted their

reliance on federal census data into law — in some cases, as noted, even into their constitutions.

Moreover, as in Texas, “there is no allegation,” let alone proof, that those jurisdictions enacted

their laws or ratified their constitutions “to manufacture standing” in these cases. Id. at 159. If

the census data is degraded (or even perceived to be degraded), these Plaintiffs will be subjected

to a forced choice: They can use the degraded data, resulting in worse policy; they can spend

money to compensate for the damage; or they can change their laws to relieve themselves of the

legal obligation to use federal census data in making and enforcing their laws (which would

presumably necessitate the expenditure of additional resources to collect data of their own

anyway). Such “pressure[] to change state law constitutes an injury” within the meaning of

Article III. Texas, 787 F.3d at 749; see Texas, 809 F.3d at 153. Accordingly, most, if not all, of

the Governmental Plaintiffs have proved an imminent injury to their sovereign interests due to

the degradation in quality of census data.

       b. Diversion of Resources

       Additionally, the risk that some hard to count population will not participate in census

results in another form of injury: the diversion of resources. In Havens Realty Corp. v. Coleman,

455 U.S. 363, 379 (1982), the Supreme Court held that an organization can establish Article III

injury in fact by proving “concrete and demonstrable injury to [its] activities — with the

consequent drain on [its] resources.” See also id. at 379 n.21 (holding that an organization that

proves it “has indeed suffered impairment” in its activities has proved an Article III injury);

Nnebe v. Daus, 644 F.3d 147, 157 (2d Cir. 2011); Ragin v. Harry Macklowe Real Estate Co., 6



                                                  46
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 47 of 86




F.3d 898, 904-06 (2d Cir. 1993). In particular, “a nonprofit organization establishes an injury-in-

fact if . . . it establishes that it spent money to combat activity that harms its organization’s core

activities.” Centro de la Comunidad Hispana de Locust Valley v. Town of Oyster Bay, 868 F.3d

104, 111 (2d Cir. 2017) (internal quotation marks omitted). “An organization need only show a

‘perceptible impairment’ of its activities in order to establish injury in fact.” New York v. U.S.

Dep’t of Homeland Sec., 969 F.3d at 61 (quoting Ragin, 6 F.3d 898 at 905).

        As they did in New York v. U.S. Department of Commerce, Defendants appear to suggest

that Havens Realty recognizes Article III injuries arising from organizational expenditures only

where those expenditures are made in response to injuries that are themselves sufficiently

imminent and impending to satisfy Article III. See Defs.’ Reply 3; Oral Arg. Tr. 42-43; see also

New York v. Dep’t of Commerce, 351 F. Supp. 3d at 616. Organizations asserting standing based

on the diversion-of-resources theory do indeed need to “show that both the anticipated

expenditures and ensuing harm to their organizations’ activities are ‘certainly impending,’” Knife

Rights, Inc. v. Vance, 802 F.3d 377, 389 (2d Cir. 2015) (quoting Clapper, 568 U.S. at 409), lest

these plaintiffs be permitted to “manufacture standing merely by inflicting harm on themselves

based on their fears of hypothetical future harm,” Clapper, 568 U.S. at 416. But that standard

does not mean that a plaintiff must allege a second form of independently adequate injury in fact,

which “would render the category of plaintiffs that could establish standing under a Havens

Realty theory a null set” and make Havens Realty a dead letter. New York v. Dep’t of Commerce,

351 F. Supp. 3d at 616. Instead, however “inexact” the standard may be, “courts are inclined to

find standing if it can be said that there is no better time to resolve the issues raised by the parties

— that is, when they will be in no better position later than now.” Young Advocates for Fair

Educ. v. Cuomo, 359 F. Supp. 3d 215, 237 (E.D.N.Y. 2019) (internal quotation marks omitted).



                                                    47
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 48 of 86




       Plaintiffs satisfy these standards. First, Defendants do not dispute, and the Court has

little trouble concluding, that the impairment alleged by NGO Plaintiffs goes to their core

activities. See, e.g., Common Cause Ind. v. Lawson, 937 F.3d 944, 955 (7th Cir. 2019) (“The

Organizations in this case have shown that Act 442’s effect on their work goes far beyond

‘business as usual.’ They have done so through concrete evidence showing that Act 442 is

already disrupting their operations . . . .”); OCA-Greater Hous. v. Texas, 867 F.3d 604, 610 (5th

Cir. 2017) (“The undisputed summary-judgment evidence established that [the plaintiff’s]

primary mission is voter outreach and civic education, particularly ‘getting out the vote’ among

its members.”). Each of the NGO Plaintiffs is primarily dedicated to serving and advocating for

communities that have traditionally been undercounted by the census, and each is dedicated to

promoting census participation in these communities. See Choi Decl. ¶¶ 3-6; Oshiro Decl. ¶¶ 2-

5; Espinosa Decl. ¶¶ 2, 5-7; Khalaf Decl. ¶¶ 4-8; Seon Decl. ¶¶ 2-6; Torres Decl. ¶¶ 1, 5-11. In

fact, several NGO Plaintiffs partner with the Census Bureau and/or state and local governments

to promote census participation within these communicates. See, e.g., Torres Decl. ¶ 11;

Espinosa Supp. Decl. ¶ 6.

       Second, Plaintiffs’ uncontested declarations demonstrate that the NGO Plaintiffs have

diverted resources in response to the Presidential Memorandum’s chilling effects on participation

in the census and the risks that poses for their members and their core activities. See Choi Decl.

¶¶ 14-27; Espinosa Decl. ¶¶ 14-17; Khalaf Decl. ¶¶ 8-16; Oshiro Decl. ¶¶ 15-17; Seon Decl.

¶¶ 17-19; Torres Decl. ¶¶ 2, 21-23; ECF No. 149-1 (“Awadeh Decl.”), ¶¶ 4-5; Espinosa Supp.

Decl. ¶¶ 7-8; Oshiro Supp. Decl. ¶¶ 2, 4; Seon Supp. Decl. ¶ 4. 10 For example, Steven Choi, the



10
       Plaintiffs provide evidence of similar resource diversions by similarly situated
organizations, albeit not Plaintiffs here. See Banerji Decl. ¶¶ 5-6; Matos Decl. ¶¶ 9-14;
Sivongxay Decl. ¶¶ 16-20, 23-24; ECF No. 76-51 (“Aranda-Yanoc Decl.”), ¶ 8.

                                                 48
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 49 of 86




executive director of Plaintiff New York Immigration Coalition (“NYIC”), states that his

organization had to develop new messaging and social media campaigns, and issue new member

updates and press releases, to counter the Presidential Memorandum’s contradiction of themes

that had previously been core to NYIC’s census outreach efforts. Choi Decl. ¶ 17. NYIC

expects to increase staff time and spending by twenty percent over previously anticipated levels

to achieve its census outreach and advocacy goals. See id. ¶ 21. Similarly, Plaintiff Ahri had to

develop entirely new outreach materials, train staffers with new scripts, and respond to media

inquiries; it expects to increase staff time and spending devoted to these efforts by fifteen percent

as a result of the Presidential Memorandum. See Seon Decl. ¶¶ 17-19. Meanwhile, Plaintiffs

ADC and ADRCI anticipate increasing staff time and spending devoted to Census efforts by

approximately twenty-five percent as a result of the Memorandum, see Khalaf Decl. ¶ 14, and

Plaintiff FIEL “anticipates having to divert approximately $5,000 from other mission critical

programs and services to the 2020 Census education and outreach as a result of the Presidential

Memorandum,” Espinosa Decl. ¶ 15.

       These resource diversions may not be large in absolute terms, but they constitute a

“perceptible impairment” of the NGO Plaintiffs’ activities and thus qualify as injuries in fact.

New York v. U.S. Dep’t of Homeland Sec., 969 F.3d at 61 (internal quotation marks omitted); see

OCA-Greater Hous., 867 F.3d at 612 (“[T]he injury alleged as an Article III injury-in-fact need

not be substantial; it need not measure more than an identifiable trifle.” (internal quotation marks

omitted)). In short, the NGO Plaintiffs “are dedicated to providing an array of legal and social

services to non-citizens and they have expended significant resources to mitigate the

[Presidential Memorandum’s] impact on those they serve. In so doing, they have diverted

resources that would otherwise have been available for other programming, a perceptible



                                                  49
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 50 of 86




opportunity cost that suffices to confer standing.” New York v. U.S. Dep’t of Homeland Sec., 969

F.3d at 61 (internal quotation marks omitted); see also Common Cause Ind., 937 F.3d at 952

(“According to the evidence put forward by the Organizations, Act 442 has created a culture of

voter confusion, and it has already inflicted costs on them.”); OCA-Greater Hous., 867 F.3d at

612 (“[The plaintiff] went out of its way to counteract the effect of Texas’s allegedly unlawful

voter-interpreter restriction . . . with a view toward . . . mitigating its real-world impact on [the

plaintiff’s] members and the public . . . an undertaking that consumed its time and resources in a

way they would not have been spent absent the Texas law. Hence, the Texas statutes at issue

‘perceptibly impaired’ OCA’s ability to ‘get out the vote’ among its members.”).

    2. Traceability

        Next, we have little trouble finding that these injuries in fact are fairly traceable to the

Presidential Memorandum. Once again, the uncontested record and common sense satisfy

Plaintiffs’ burden. Plaintiffs demonstrate that the Presidential Memorandum’s chilling effect on

immigrant census participation is at least partially responsible for a degradation in the quality of

census data. See, e.g., ECF No. 76-24 (“Jimenez Decl.”), ¶¶ 3-5 (explaining that the

Memorandum’s deterrence effect on immigrant household census participation will cause an

undercount and a subsequent reduction in federal healthcare, infrastructure, and education

funding for Plaintiff Monterey County); Salvo Decl. ¶ 12 (noting that the Presidential

Memorandum “is likely to make the Census Bureau resort to less-reliable methods, including

statistical imputation, more frequently in immigrant communities than it otherwise would” which

will “result[] in poorer quality (less accurate) data both in terms of demographic characteristics

as well as the actual count of persons”). NGO Plaintiffs have also made clear that the

Presidential Memorandum is responsible for their diversion of resources; in other words, they are



                                                    50
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 51 of 86




expending resources they would not otherwise precisely because of the Presidential

Memorandum. See, e.g., Choi Decl. ¶¶ 20-21; Khalaf Decl. ¶¶ 14-15; Seon Decl. ¶ 17; Oshiro

Supp. Decl. ¶¶ 3-4; Torres Decl. ¶¶ 22-23; Espinosa Supp. Decl. ¶ 4. This undisputed evidence

satisfies Plaintiffs’ burden to demonstrate the “de facto causality” that Article III demands.

Dep’t of Commerce v. New York, 139 S. Ct. at 2566 (internal quotation marks omitted).

       In arguing otherwise, Defendants point out that Plaintiffs’ theory of causation relies in

part on the intervening actions of third-party actors, such as Spanish-language media

disseminating information about the Presidential Memorandum. See Defs.’ Mem. 16. “It makes

little sense,” they argue, “for Plaintiffs to attribute whatever harm is caused by those independent

actors to the Memorandum itself, particularly if their messages convey the incorrect impression

that the Memorandum increases the risk of individuals’ information being linked to immigration

records and those individuals facing immigration enforcement.” Id. (internal quotation marks

and alterations omitted). More broadly, they assert that Plaintiffs’ injuries are traceable to the

“macro environment” of fear in the immigrant and Hispanic communities that predated the

Presidential Memorandum, not to the Memorandum itself. Id. at 15-19.

       These arguments are unpersuasive. For one thing, they ignore entirely Plaintiffs’

evidence that the Presidential Memorandum has deterred, and will continue to deter, people from

participating in the census because they conclude “that they don’t see a benefit in filling out the

census form if they will not be counted.” Pls.’ Mem. 43 (internal quotation marks and alterations

omitted); see, e.g., Choi Decl. ¶ 17; Cullinane Decl. ¶ 9; Matos Decl. ¶¶ 11, 13; Oshiro Decl.

¶¶ 10-12; ECF No. 76-38 (“Roche Decl.”), ¶ 9; Torres Decl. ¶ 19; Espinosa Supp. Decl. ¶¶ 5-6.

For such people, the chain of causation between the Presidential Memorandum and non-

participation has only a single link. Thus, Plaintiffs need not and do not rely on the



                                                  51
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 52 of 86




dissemination of information by third parties to establish that certain illegal aliens will plausibly

— even rationally — decide not to participate based directly on a correct understanding of the

Presidential Memorandum’s import.

       Second, as noted above, the Supreme Court has long made clear that the defendant’s

conduct need not be “the very last step in the chain of causation.” Bennett, 520 U.S. at 169.

Indeed, the traceability requirement may be met even where several steps on the causal chain

stand between the defendant’s conduct and the plaintiff’s injury. Davis v. Federal Election

Commission, 554 U.S. 724, for example, involved a challenge to a campaign finance law that

increased campaign contribution limits for any candidate whose opponent’s personal campaign

expenditures exceeded his own by a certain amount. At the time of filing, the plaintiff was at

least three steps away from suffering any concrete harm: He had to spend a sufficient amount of

his own money; his opponent had to refrain from a comparable level of self-funding; and his

opponent had to then take advantage of the law by accepting heightened contributions. Even so,

the Court found that the plaintiff faced a “real, immediate, and direct [injury] . . . when he filed

suit.” Id. at 734. Notably, the Court deemed that assumption valid based on little more than

evidence that “most candidates who had the opportunity to receive expanded contributions had

done so.” Id. at 735 (emphasis added). Moreover, the Court did not require proof that the

government conduct had a coercive effect on the third party’s action; evidence that allowed the

Court to predict how the third party would likely act in response to the government action was

sufficient. See id.; see also Lujan, 504 U.S. at 562 (noting that, when injury depends on the

conduct of third parties, it is sufficient to show “choices have been or will be made in such

manner as to produce causation and permit redressability” (emphasis added)); Nat. Res. Def.

Council, 894 F.3d at 104-05 (finding “the agency’s own pronouncements,” as well as “[c]ommon



                                                   52
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 53 of 86




sense and basic economics,” supported a conclusion that an “increased penalty has the potential

to affect [third parties’] business decisions and compliance approaches” in a manner that would

result in harm to the petitioners (internal quotation marks omitted)).

       In light of these principles and cases, Defendants’ arguments are unpersuasive. At the

end of the day, they are little more than a rehash of Defendants’ arguments in the citizenship

question litigation, which were rejected. There, like here, Defendants argued that Plaintiffs’

injuries were not “fairly traceable” to their conduct because the injuries depended on the

intervening acts of third parties influenced by misinformation — namely, that the federal

government could use their census answers for law enforcement and immigration enforcement

purposes. New York v. Dep’t of Commerce, 351 F. Supp. 3d at 623-24. There, like here,

Defendants argued that Plaintiffs’ injuries were not “fairly traceable” to their conduct because

the injuries were attributable to an independently existing macro environment of fear permeating

the immigrant and Hispanic communities. Id. at 621-22. Yet the Supreme Court rejected those

arguments. As that Court reaffirmed, “Article III requires no more than de facto causality,” a

standard that is met where Government action has a “predictable effect . . . on the decisions of

third parties.” Dep’t of Commerce v. New York, 139 S. Ct. at 2566 (internal quotation marks

omitted). Here, as in the citizenship question litigation, Plaintiffs have proved that their injuries

arise from the predictable effects of Government action, however rational or reasonable those

effects may be.

   3. Redressability

       Finally, we conclude that Plaintiffs satisfy the redressability requirement as well. To be

sure, Plaintiffs have not proved — and perhaps could not prove — that a favorable ruling would

lead everyone who has decided, or will decide, not to participate in the census as a result of the



                                                   53
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 54 of 86




Presidential Memorandum to change course. But Plaintiffs’ burden is not to show that a

favorable court ruling would fully remedy the injuries that they have suffered or will suffer.

Instead, they need show only that the “risk [of harm] would be reduced to some extent if [they]

receive[] the relief they seek.” Massachusetts v. E.P.A., 549 U.S. at 526 (emphasis added); see

also CREW, 953 F.3d at 194 (finding the redressability requirement satisfied because “it

logically follows that relief would redress [the plaintiffs’] injury — at least to some extent”);

Parsons v. U.S. Dep’t of Justice, 801 F.3d 701, 716 (6th Cir. 2015) (“[I]t need not be likely that

the harm will be entirely redressed, as partial redress can also satisfy the standing requirement.”).

       The Supreme Court’s decision in Massachusetts v. E.P.A. is instructive. There,

Massachusetts and other States challenged the EPA’s decision not to regulate four greenhouse

gases within the United States. On appeal, the Supreme Court held that the States had standing

to challenge the EPA’s decision based on their showing, through “unchallenged affidavits,” that

climate change was caused by greenhouse gases and caused various harms. 549 U.S. at 522.

The Court did so despite the EPA’s contention that there was no “realistic possibility” that the

relief sought “would mitigate global climate change and remedy their injuries,” particularly

“because predicted increases in greenhouse gas emissions from developing nations” were “likely

to offset any marginal domestic decrease.” Id. at 523-24. The Court explained:

       While it may be true that regulating motor-vehicle emissions will not by itself
       reverse global warming, it by no means follows that we lack jurisdiction to decide
       whether EPA has a duty to take steps to slow or reduce it. Because of the
       enormity of the potential consequences associated with manmade climate change,
       the fact that the effectiveness of a remedy might be delayed . . . is essentially
       irrelevant. Nor is it dispositive that developing countries . . . are poised to
       increase greenhouse gas emissions substantially over the next century: A
       reduction in domestic emissions would slow the pace of global emissions
       increases, no matter what happens elsewhere.

Id. at 525-26 (citation and footnote omitted). Notably, the Court did not demand empirical proof

that the remedy sought would have any marginal effect on global warming. The causal

                                                   54
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 55 of 86




connection between greenhouse gases and climate change, combined with the EPA’s “ardent

support for various voluntary emission-reduction programs” (with which the “EPA would

presumably not bother . . . if it thought emissions reductions would have no discernable impact

on future global warming”), was enough. Id. at 526 (internal quotation marks omitted). Because

the relief sought would reduce the risk of injury “to some extent,” the States had standing. Id.

       Here too, Plaintiffs’ uncontested affidavits show that the relief they seek — a declaration

that the Presidential Memorandum is unlawful and an injunction barring any effort to implement

it — would reduce “to some extent” their risk of suffering injuries relating to the census. If

anything, the record here provides even more support for a finding of redressability than the

record in Massachusetts v. E.P.A. did. First, as discussed above, Plaintiffs have provided proof

that there are likely people who have decided, or will decide, not to participate in the census for

the simple reason that, under the Presidential Memorandum, they will not count for

apportionment purposes. A court order invalidating the Presidential Memorandum would redress

that harm in a straightforward manner. See, e.g., Carpenters Indus. Council, 854 F.3d at 6 n.1

(Kavanaugh, J.) (“[I]f a government action causes an injury, enjoining the action usually will

redress that injury.”). Second, Plaintiffs’ uncontested declarations provide evidence supporting a

finding of redressability. Plaintiff Ahri, for example, explains that the injunction barring the

citizenship question was useful in quelling concerns in the community it serves and that an order

granting relief in this case would similarly make its census outreach efforts more efficient and

effective. Seon Supp. Decl. ¶¶ 4-7; see also Oshiro Supp. Decl. ¶ 5; Espinosa Supp. Decl. ¶ 8.

And Plaintiffs submit an expert report noting that injunctions barring implementation of other

immigration-related executive actions have had “measurable consequences on promoting trust

among immigrant communities and influencing behavioral interactions with various aspects of



                                                  55
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 56 of 86




government.” See Barreto Decl. ¶¶ 66-69. In short, we find that Plaintiffs’ requested relief

would “likely . . . at least diminish further instance of” Plaintiffs’ census-related harms. CREW,

953 F.3d at 194. Indeed, “[b]ecause Plaintiffs have successfully alleged” that these harms are

“ongoing, it logically follows that relief would redress their injury — at least to some extent,

which is all that Article III requires.” Id.

        Only two of Defendants’ counterarguments warrant further discussion. First, Defendants

maintain that Plaintiffs’ census-related injuries would not be remedied by a ruling in Plaintiffs’

favor because the alleged “‘macro environment’ of mistrust around immigration” would remain.

Defs.’ Mem. 19. But that is akin to the argument the EPA made, and the Supreme Court

rejected, in Massachusetts v. E.P.A.: that granting relief would not remedy the States’ injuries

because there were other, independent causes for those injuries — namely, the emissions of

developing nations — that would persist. See 549 U.S. at 524. Put differently, the mere fact that

the Presidential Memorandum causes only incremental harms, and that there are other causes of

those same harms, does not defeat a finding of redressability. See id. (“EPA overstates its case.

Its argument rests on the erroneous assumption that a small incremental step, because it is

incremental, can never be attacked in a federal judicial forum.”).

        Second, Defendants suggest that Plaintiffs cannot show redressability because “appellate

review would likely last well past the end of the conduct of the census.” Defs.’ Reply 4.

Conspicuously, however, Defendants cite no authority for the novel proposition that the

availability of higher court review and the possibility of reversal can render a dispute

nonjusticiable. Taken to its logical conclusion, that argument would suggest that a plaintiff

could never obtain emergency relief in the face of a looming deadline. Far from rejecting such

claims, courts routinely hear them on an expedited basis (as we have done here). See, e.g.,



                                                  56
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 57 of 86




League of Women Voters of N. Carolina v. North Carolina, 769 F.3d 224, 247 (4th Cir. 2014)

(noting that in the election context, “once the election occurs, there can be no do-over and no

redress” making “injur[ies] to . . . voters real and completely irreparable if nothing is done”).

Finally, it bears mentioning that it is Defendants’ own conduct that has put Plaintiffs in such a

precarious position. The President could have issued his Presidential Memorandum well before

the census began, in which case Plaintiffs would have had ample time to obtain a definitive

ruling on their claims to preempt any chilling effect. Or he could have waited until census

operations were over, in which case there would have been no risk of the census-related harms

that Plaintiffs seek to remedy. Instead, for unknown reasons, the President waited more than a

year after the Supreme Court rejected the citizenship question to issue his Presidential

Memorandum, at which point the census was (and still is) in full swing. It would be perverse to

conclude that, through their own conduct, Defendants could prevent Plaintiffs from even

obtaining a hearing on their claims.

   4. Conclusion

       In the final analysis, “the gist of the question of standing” (and constitutional ripeness)

“is whether [the plaintiffs] have ‘such a personal stake in the outcome of the controversy as to

assure that concrete adverseness which sharpens the presentation of issues upon which the court

so largely depends for illumination.’” Massachusetts v. E.P.A., 549 U.S. at 517 (quoting Baker

v. Carr, 369 U.S. 186, 204 (1962)). That is, the standing requirement “preserves the vitality of

the adversarial process by assuring both that the parties before the court have an actual, as

opposed to professed, stake in the outcome, and that the legal questions presented . . . will be

resolved, not in the rarified atmosphere of a debating society, but in a concrete factual context

conducive to a realistic appreciation of the consequences of judicial action.” Id. (quoting Lujan,



                                                  57
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 58 of 86




504 U.S. at 581 (Kennedy, J., concurring). Based on our thorough review of the record —

including the uncontested declarations submitted in support of Plaintiffs’ motion — and the well-

established standards for determining whether a plaintiff has standing, we are confident we have

jurisdiction to proceed. 11

D. Prudential Ripeness

        As noted, Defendants also invoke the prudential ripeness doctrine. See Defs.’ Mem. 6-

10; Defs.’ Reply 1-2. Unlike standing and constitutional ripeness, prudential ripeness does not

relate to the Court’s jurisdiction. Instead, “when a court declares that a case is not prudentially

ripe, it means that the case will be better decided later and that the parties will not have

constitutional rights undermined by the delay.” Simmonds, 326 F.3d at 357. The “ripeness

requirement is designed ‘to prevent the courts, through avoidance of premature adjudication,

from entangling themselves in abstract disagreements over administrative policies, and also to

protect the agencies from judicial interference until an administrative decision has been

formalized and its effects felt in a concrete way by the challenging parties.’” Ohio Forestry




11
          Defendants do not argue that we should engage in a zone-of-interests analysis, which the
Supreme Court has sometimes described as a component of “prudential standing.” Lexmark
Int’l, 572 U.S. at 127 n.3. Accordingly, they have waived the argument. See Fed. Defs. of N.Y.,
Inc. v. Fed. Bureau of Prisons, 954 F.3d 118, 128 (2d Cir. 2020) (holding, after Lexmark, that the
zone-of-interests test is not jurisdictional); see also, e.g., Young v. Conway, 698 F.3d 69, 85 (2d
Cir. 2012) (“It is well-settled that non-jurisdictional arguments and defenses may be waived
. . . .”). In any event, in light of Lexmark’s observation that “the zone-of-interests analysis . . .
asks whether this particular class of persons has a right to sue under this substantive statute” and
“whether a legislatively conferred cause of action encompasses a particular plaintiff’s
claim,” 572 U.S. at 127 (emphasis added) (alterations, citations, and internal quotation marks
omitted), we doubt that it has any application here, as the claims on which Plaintiffs move are
constitutional and equitable in nature. See, e.g., Sierra Club v. Trump, 929 F.3d 670, 700-02 (9th
Cir. 2019).


                                                   58
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 59 of 86




Ass’n, Inc. v. Sierra Club, 523 U.S. 726, 732-33 (1998) (quoting Abbott Labs. v. Gardner, 387

U.S. 136, 148-49 (1967)); see Nat’l Org. for Marriage, 714 F.3d at 691. 12

       “To determine whether to abstain from a case on prudential ripeness grounds, we proceed

with a two-step inquiry,” evaluating “both the fitness of the issues for judicial decision and the

hardship to the parties of withholding court consideration.” Nat’l Org. for Marriage, 714 F.3d at

691 (internal quotation marks omitted). The first step of the inquiry “is concerned with whether

the issues sought to be adjudicated are contingent on future events or may never occur.” N.Y.

Civil Liberties Union v. Grandeau, 528 F.3d 122, 132 (2d Cir. 2008) (internal quotation marks

and alterations omitted). “In assessing th[e] possibility of hardship, we ask whether the

challenged action creates a direct and immediate dilemma for the parties.” Id. at 134 (internal

quotation marks omitted). The two-step inquiry requires consideration, in turn, of three factors:

“(1) whether delayed review would cause hardship to the plaintiffs; (2) whether judicial

intervention would inappropriately interfere with further administrative action; and (3) whether

the courts would benefit from further factual development of the issues presented.” Ohio

Forestry Ass’n, 523 U.S. at 733.

       Considering these factors here, we conclude that the test for prudential ripeness is “easily

satisfied.” Susan B. Anthony List, 573 U.S. at 167. First, given that Plaintiffs’ alleged census-

related harms are occurring now, and can be remedied only if we rule on their claims before

census operations conclude in a matter of days or weeks, delaying review would cause Plaintiffs



12
         In recent years, the Supreme Court has cast doubt on the “continuing vitality of the
prudential ripeness doctrine,” on that ground that it “‘is in some tension with . . . the principle
that a federal court’s obligation to hear and decide cases within its jurisdiction is virtually
unflagging.” Susan B. Anthony List, 573 U.S. at 167 (internal quotation marks omitted). But
because neither the Supreme Court nor the Second Circuit has abandoned the doctrine yet, we
are bound to consider Defendants’ arguments here.


                                                   59
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 60 of 86




grave hardship. See Chamber of Commerce of U.S. v. Reich, 57 F.3d 1099, 1100 (D.C. Cir.

1995) (per curiam) (finding a challenge to an Executive Order announcing a policy of the

executive branch ripe where “the injury alleged . . . [is that] the mere existence of the Order

alters the balance of bargaining power between employers and employees by creating a

disincentive for employers to hire replacement workers”). Justice delayed would indeed be

justice denied. Moreover, because there are no do-overs for the census, the adverse

consequences of that delay could resonate for a decade, until the next decennial census. Second,

although Defendants assert in conclusory fashion that judicial intervention “would

inappropriately interfere with the Bureau’s ongoing process by hindering agency efforts to refine

its policies and to apply its expertise,” Defs.’ Reply 2 (internal quotation marks omitted), that

assertion borders on frivolous. On its face, the Presidential Memorandum does not purport to

regulate the actual conduct of the census, see Presidential Memorandum, 85 Fed. Reg. at 44,679

(“Excluding Illegal Aliens From the Apportionment Base Following the 2020 Census” (emphasis

added)), and Defendants themselves concede that it “does not affect how the Census Bureau is

conducting its remaining enumeration operations,” Defs.’ Mem. 12. Moreover, as discussed

below, relief can be crafted to minimize, if not eliminate, interference with administrative action.

And finally, although the standing-related question of whether or to what extent Plaintiffs would

suffer apportionment-related harms would benefit from further factual development, the

gravamen of Plaintiffs’ claims — that the President lacks the authority to exclude illegal aliens

from the apportionment base — “presents an issue that is ‘purely legal, and will not be clarified

by further factual development.’” Susan B. Anthony List, 573 U.S. at 167 (quoting Thomas, 473

U.S. at 581).




                                                  60
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 61 of 86




       Thus, we conclude there is no basis to defer consideration of Plaintiffs’ claims on

ripeness ground. The fact that the Presidential Memorandum contains something akin to a

“savings clause” — namely, that it is “the policy of the United States to exclude” illegal aliens

from the apportionment base “to the maximum extent feasible and consistent with the discretion

delegated to the executive branch,” Presidential Memorandum, 85 Fed. Reg. at 44,680 (emphasis

added) — does not alter that conclusion. Where, as here, the President’s proclamation

“unambiguously commands action” such that “there is more than a ‘mere possibility that some

agency might make a legally suspect decision,’” such a “savings clause does not and cannot

override” the proclamation’s “meaning.” City & Cty. of San Francisco v. Trump, 897 F.3d 1225,

1240 (9th Cir. 2018) (quoting Bldg. & Const. Trades Dep’t, AFL-CIO v. Allbaugh, 295 F.3d 28,

33 (D.C. Cir. 2002)). Indeed, savings clauses must be “read in their context, and they cannot be

given effect when the Court, by rescuing the . . . measure, would override clear and specific

language.” Id. at 1239. In this case, the President explicitly declares that “it is the policy of the

United States to exclude” illegal aliens “from the apportionment base,” an unambiguous

directive that, as discussed above, is having immediate and ongoing effects. Moreover, the

Presidential Memorandum mandates that this policy be effected “to the maximum extent”

feasible and consistent with law. Presidential Memorandum, 85 Fed. Reg. at 44,680 (emphasis

added). Given that “a presumption of regularity attaches to the actions of Government

agencies,” U.S. Postal Serv. v. Gregory, 534 U.S. 1, 10 (2001), we must and do presume that the

Secretary and the Census Bureau will abide by the President’s directives and work diligently to

help exclude illegal aliens from the apportionment base to the maximum extent possible.

Whether doing so would be a lawful exercise of the President’s authority is a pure legal question

that can be addressed now.



                                                   61
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 62 of 86




                                          THE MERITS

       In their motion, Plaintiffs seek relief on two grounds: first, they argue that the

Presidential Memorandum violates Article I and the Fourteenth Amendment to the Constitution;

and second, they contend that it constitutes an ultra vires violation of the laws governing the

census and apportionment. Pls.’ Mem. 1-2. On the latter front, Plaintiffs insist that the

Presidential Memorandum exceeds the powers delegated by Congress in 13 U.S.C. § 141 and 2

U.S.C. § 2a in at least two ways: (1) because it contemplates calculating apportionment using

tabulations other than those produced by the census and (2) because it seeks to exclude illegal

aliens from the apportionment base regardless of whether they are “persons in” a “State” as those

terms are used in Section 2a(a). Id. at 27-36.

       Although Plaintiffs urge us to decide both their constitutional claims and their statutory

claims, and the parties focus mostly on the constitutional issues, courts have long been

admonished not to “pass upon a constitutional question although properly presented by the

record, if there is also present some other ground upon which the case may be disposed of.”

Ashwander v. TVA, 297 U.S. 288, 347 (1936) (Brandeis, J., concurring); accord Slack v.

McDaniel, 529 U.S. 473, 485 (2000); House of Representatives, 525 U.S. at 343-44.

Accordingly, we begin — and, as it turns out, end — with Plaintiffs’ statutory claims. In doing

so, of course, “we start with the text of the statute.” Babb v. Wilkie, 140 S. Ct. 1168, 1172

(2020). “Where the statute’s language is plain, the sole function of the courts is to enforce it

according to its terms.” United States v. Kozeny, 541 F.3d 166, 171 (2d Cir. 2008) (internal

quotation marks omitted). We may look to legislative history and other tools of statutory

construction if the statutory terms are ambiguous or “to corroborate and fortify our




                                                  62
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 63 of 86




understanding of the text.” Dig. Realty Tr., Inc. v. Somers, 138 S. Ct. 767, 783 (2018)

(Sotomayor, J., concurring).

A. Apportionment Must Be Based on the Results of the Census Alone

       Plaintiffs’ first argument is that the Presidential Memorandum violates the statutes

governing the census and apportionment by producing apportionment figures that are not based

solely on the decennial census. This argument relies on the interplay between Section 141 and

Section 2a. Subsection (a) of the former requires the Secretary to conduct the “decennial census

of population.” 13 U.S.C. § 141(a). Subsection (b) then requires the Secretary to report to the

President “[t]he tabulation of total population by States under subsection (a) of this section” —

that is, under the “decennial census” — “as required for the apportionment of Representatives in

Congress.” Id. § 141(b). Section 2a(a), in turn, requires the President to transmit to Congress “a

statement showing the whole number of persons in each State . . . as ascertained under the . . .

decennial census of the population, and the number of Representatives to which each State

would be entitled . . . by the method known as the method of equal proportions . . . .” 2 U.S.C.

§ 2a(a). By its terms, therefore, Section 141 calls for the Secretary to report a single set of

numbers — “[t]he tabulation of total population by States” under the “decennial census” — to

the President. And Section 2a, in turn, “expressly require[s] the President to use . . . the data

from the ‘decennial census’” in determining apportionment. Franklin, 505 U.S. at 797. That is,

once the final decennial census data is in hand, the President’s role is purely “ministerial.” Id. at

799.

       Legislative history and the longstanding understanding of the Executive Branch itself

confirm that the Secretary’s “tabulation,” and the President’s apportionment calculations, must

be based on decennial census data alone. Significantly, the statutes first took their current form



                                                   63
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 64 of 86




in 1929, after a decade-long stalemate over the method for calculating the reapportionment

following the 1920 census. See id. at 791-92. Congress responded to this problem by creating

an “automatic reapportionment” scheme that would be “virtually self-executing.” Id. at 792. In

particular, the scheme created an “automatic connection between the census and the

reapportionment”; indeed, that was “the key innovation of the Act.” Id. at 809 (Stevens, J.,

concurring in part and concurring in the judgment) (emphasis added). The Senate Report

accompanying the bill explained in reference to the next census:

       The census would be taken in November, 1929. One year later, with these figures
       in hand, the President would report the census figures, together with a table
       showing how, under these figures, the House would be apportioned . . . pursuant
       to a purely ministerial and mathematical formula . . . . Precisely the same process
       would protect reapportionment in each subsequent decennium.

S. Rep. No. 71-2, at 4 (1929). Along similar lines, the House Report explained that, under the

bill, “the House is reapportioned in accordance with the tabulation transmitted by the Secretary

of Commerce . . . ; the tabulations transmitted to Congress are on the basis of the 1930 census

. . . .” H. Rep. No. 70-2010, at 4 (1929); see also id. at 7 (explaining that the Secretary, to whom

the bill also originally assigned the task of reapportionment later assigned to the President, “is

left with no discretionary power. He must use absolutely, without deviation, the population of

each State as gathered and reported by the Director of the Census.” (emphasis added)). 13




13
         Although we are wary of relying too heavily on floor statements by members of
Congress, it is worth noting that Senator Vandenberg of Michigan, the principal sponsor of the
bill, reaffirmed that the legislation required the President “to report the result of a census” and
to apply the reapportionment formula to “the result of the census.” 71 Cong. Rec. 1613 (1929)
(statement of Sen. Vandenberg). Elsewhere, he and Senator Walsh of Montana confirmed in a
colloquy with Senator Swanson of Virginia “that the President is bound and has no discretion”
but “to make the apportionment according to the census.” Id. at 1845 (statement of Sen.
Swanson) (emphasis added).


                                                  64
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 65 of 86




       Similarly, its position in this litigation notwithstanding, the Department of Justice (the

“Justice Department” or “DOJ”) has long adhered to the view that the President’s statement to

Congress regarding apportionment has to be based solely on the tabulation of total population

produced by the census. As the Justice Department explained more than forty years ago in

Federation for American Immigration Reform (FAIR) v. Klutznick, “every inhabitant of a state

the Census counts is included in the apportionment base. . . . The total resident population of the

states is the apportionment base.” Defs.’ Reply Mem. & Opp’n at 11, 486 F. Supp. 564 (D.D.C.

1980) (No. 79-CV-3269), 1980 WL 683642, at *7 (citing H.R. Rep. No. 91-1314 (1970)). 14

Along similar lines, the Government acknowledged during oral argument in Franklin v.

Massachusetts that “[t]he law directs [the President] to apply, of course, a particular

mathematical formula to the population figures he receives” and that “[i]t would be unlawful . . .

just to say, these are the figures, they are right, but I am going to submit a different statement.”

Oral Arg. Tr. at 12, Franklin v. Massachusetts, 505 U.S. 788 (No. 91-1502). “I think under the

law he is supposed to base his calculation on the figures submitted by the Secretary.” Id. at 13;

see also, Reply Br. Appellants, Franklin, 505 U.S. 788 (No. 91-1502), 1992 WL 672612, at *15

(Apr. 20, 1992) (“[T]he method of equal proportions calls for application of a set mathematical

formula to the state population totals produced by the census.” (emphasis added)).

       In short, this history confirms our reading of the statutes’ plain terms: The Secretary is

required to report a single set of figures to the President — namely, “[t]he tabulation of total



14
        The House Report to which DOJ cited noted unambiguously that “the enumerated
decennial census population is the basis for the apportioning of [the House] among the several
States.” H.R. Rep. No. 91-1314, at 3 (1970). Elsewhere, it summarized the three “elements” of
the President’s statement under Section 2a(a): “(1) The population of each State as determined
by the decennial census; (2) The existing total number of Representatives (435); and (3) The
apportionment which results from using a mathematical method known as the method of equal
proportions.” Id. at 2 (emphasis added).

                                                   65
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 66 of 86




population by States” under the “decennial census” — and the President is then required to use

those same figures to determine apportionment using the method of equal proportions.

       The Presidential Memorandum deviates from, and thus violates, these statutory

requirements. Whereas the statute calls for the Secretary to include only the census figures in his

report to the President, the Presidential Memorandum mandates that the Secretary provide a

second set of figures as well: namely, the population of each State “exclud[ing]” illegal aliens.

Presidential Memorandum, 85 Fed. Reg. at 44,680. The Presidential Memorandum leaves it to

the Secretary how to come up with those figures, but they will necessarily be derived from

something other than the census itself, as the 2020 census is not gathering information

concerning citizenship or immigration status, and the 2020 census itself is counting illegal aliens.

See Order at 1-2, New York v. Dep’t of Commerce, 18-CV-2921 (JMF), ECF No. 653

(permanently enjoining the inclusion of a citizenship question on the 2020 census questionnaire);

see also Presidential Memorandum, 85 Fed. Reg. at 44,680 (noting that “data on illegal aliens . . .

relevant for the purpose of conducting the apportionment” may be available as a result of

Executive Order 13880, which directed executive agencies “to share information with the

Department of Commerce” regarding “the number of citizens, non-citizens, and illegal aliens in

the country”). By doing so, the Presidential Memorandum violates Congress’s mandate to use

the results of the census — and only the results of the census — in connection with the

apportionment process and the counting of them in the census pursuant the Residence Rule.

       In arguing otherwise, Defendants rely almost exclusively on the Supreme Court’s

decision in Franklin, see Defs.’ Mem. 40-42; Oral Arg. Tr. 48-54, but that reliance is misplaced.

In Franklin, the plaintiffs brought two discrete challenges, one a constitutional challenge to the

formula used in connection with reapportionment and one a challenge under the Constitution and



                                                  66
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 67 of 86




the APA to the conduct of the census — specifically, to the Census Bureau’s decision to count

federal employees serving overseas as residents of the State listed as their home of record in their

personnel files. See Massachusetts v. Mosbacher, 785 F. Supp. 230, 233 (D. Mass. 1992). A

three-judge district court rejected the first challenge, but agreed with the second. See id. at 267-

68. On appeal from the latter ruling alone, the Supreme Court reversed. With respect to the

plaintiffs’ constitutional claim, the Court held that the Secretary’s judgment “that many federal

employees temporarily stationed overseas had retained their ties to the States and could and

should be counted toward their States’ representation in Congress” was “consonant with, though

not dictated by, the text and history of the Constitution.” Franklin, 505 U.S. at 806. With

respect to the plaintiffs’ APA claim, the Court held that the decision could not be challenged

because the only final action affecting the States was the President’s Section 2a(a) statement and

the President does not qualify as an “agency” for purposes of the APA. See id. at 796-801. The

Secretary’s Section 141(b) report, the Court explained, “carries no direct consequences for the

reapportionment” and, thus, “serves more like a tentative recommendation than a final and

binding determination.” Id. at 798.

       While addressing the question of whether the plaintiffs could bring a claim under the

APA, the Court described the interplay between Section 2a and Section 141:

       After receiving the Secretary’s report, the President is to “transmit to the
       Congress a statement showing the whole number of persons in each State . . . as
       ascertained under the . . . decennial census of the population.” 2 U.S.C. § 2a(a).
       Section 2a does not expressly require the President to use the data in the
       Secretary’s report, but, rather, the data from the “decennial census.” There is no
       statute forbidding amendment of the “decennial census” itself after the Secretary
       submits the report to the President. For potential litigants, therefore, the
       “decennial census” still presents a moving target, even after the Secretary reports
       to the President. . . . Moreover, there is no statute that rules out an instruction by
       the President to the Secretary to reform the census, even after the data are
       submitted to him. It is not until the President submits the information to Congress



                                                  67
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 68 of 86




       that the target stops moving, because only then are the States entitled by § 2a to a
       particular number of Representatives.

505 U.S. at 797-98. The Court acknowledged that the President’s role under Section 2a was

“admittedly ministerial,” but that “d[id] not answer the question whether the apportionment is

foreordained by the time the Secretary gives her report to the President.” Id. at 799. Put simply,

the Court concluded, “§ 2a does not curtail the President’s authority” — pursuant to “his

accustomed supervisory powers over his executive officers” — “to direct the Secretary in

making policy judgments that result in ‘the decennial census’; he is not expressly required to

adhere to the policy decisions reflected in the Secretary’s report.” Id. at 799-800.

       Defendants seize on this language to argue that the President has discretion to define who

should be considered inhabitants — or “persons in each State,” 2 U.S.C. § 2a(a); see U.S. Const.

Art. I § 2, cl. 3 — for purposes of the census. Presidential Memorandum, 85 Fed. Reg. at

44,679; see Defs.’ Mem. 40-42; Def. Reply 9-10; Oral Arg. Tr. 47. That may or may not be true

— we address it below — but it is beside the point for present purposes. Franklin does not

suggest, let alone hold, that the President has authority to use something other than the census

when calculating the reapportionment; indeed, the Court did not even consider the plaintiffs’

challenge to the apportionment. At most, Franklin establishes that the President retains his

“usual superintendent role” with respect to the conduct of the census — and can direct the

Secretary to make “policy judgments that result in ‘the decennial census.’” Id. at 799-800

(emphasis added); see also id. at 797-98 (referring to “amendment of the ‘decennial census’

itself” and “instruction by the President to the Secretary to reform the census”). 15 But by


15
        Thus, defense counsel is wrong in suggesting that the Franklin Court blessed the use of a
tabulation that was based on both the census and “separate records outside the census.” Oral
Arg. Tr. 52. The overseas personnel were counted as part of the census itself, resulting in a
single “tabulation of total population by States” under the “decennial census.” 13 U.S.C.
§ 141(a)-(b). That they were counted using administrative records rather than a questionnaire is

                                                  68
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 69 of 86




Defendants’ own admission, that is not what the President did here. See, e.g., Joint Pre-

Conference Ltr. 5 (“Plaintiffs are not challenging some procedure that will be used in the actual

census, but an apportionment number that will be chosen by the President after the census is

complete.”); Defs.’ Mem. 12 (“[T]he Memorandum does not affect how the Census Bureau is

conducting its remaining enumeration operations . . . .”); ECF No. 120 (Decl. of Albert E.

Fontenot, Jr.) ¶ 12 (“The Presidential Memorandum . . . has had no impact on . . . the Census

Bureau’s commitment to count each person in their usual place of residence, as defined in the

[Residence Rule].”).

       In short, contrary to Defendants’ arguments, the statutory scheme enacted by Congress

does not give the President authority to “choose” any set of numbers he wants “to plug into the

‘method of equal proportions.’” Defs.’ Mem. 42. Instead, Congress mandated that the President

use a specific set of numbers — those produced by the decennial census itself — for purposes of

the reapportionment. By deviating from that mandate, the Presidential Memorandum exceeds

the authority of the President and constitutes an ultra vires violation of the statutes.

B. The Apportionment Base Cannot Exclude Illegal Aliens Who Reside in a State

       The Presidential Memorandum also deviates from Section 2a(a) in defining “the whole

number of persons in each State” to categorically exclude illegal aliens residing in each State.

Once again, we begin with the plain language of the statute. Defendants do not dispute — in the

Presidential Memorandum or in their briefs — that illegal aliens are “persons” within the

meaning of Section 2a(a), and for good reason. The ordinary meaning of the word “person” is

“human” or “individual” and surely includes citizens and non-citizens alike. See Plyler v.




of no moment, as Section 141(a) broadly delegates to the Secretary the authority to conduct the
census “in such form . . . as he may determine.” Id. § 141(a).

                                                   69
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 70 of 86




Doe, 457 U.S. 202, 210 (1982) (“Whatever his status under the immigration laws, an alien is

surely a ‘person’ in any ordinary sense of that term.”). Moreover, the U.S. Code is filled with

other statutes that use terms that plainly exclude illegal aliens, such as “citizen” or “alien

lawfully admitted.” E.g., 5 U.S.C. § 552a(a)(2). “Congress thus distinguishes between a

‘citizen’ and ‘any person’ when it wishes to do so.” O’Rourke v. U.S. Dep’t of Justice, 684 F.

Supp. 716, 718 (D.D.C. 1988) (holding that the phrase “any person” in the Freedom of

Information Act, 5 U.S.C. §§ 551 et seq., includes non-citizens); accord Stone v. Exp.-Imp. Bank

of U. S., 552 F.2d 132, 136 (5th Cir. 1977); see also, e.g., Suzlon Energy Ltd. v. Microsoft Corp.,

671 F.3d 726, 729 (9th Cir. 2011) (holding that “any person” in the Electronic Communications

Privacy Act, 18 U.S.C. §§ 2510 et seq., “means any person, including foreign citizens”).

       Instead, Defendants hang their hats on the four-word phrase “persons in each State.”

Presidential Memorandum, 85 Fed. Reg. at 44,679; see Defs.’ Mem. 2, 29-30; Defs.’ Reply 11.

That phrase, they argue, has been construed to mean “inhabitants” or to turn on “usual

residence,” terms that are not self-defining and call for “the exercise of judgment.” Presidential

Memorandum, 85 Fed. Reg. at 44,679. That is true enough. See Franklin, 505 U.S. at 803-05

(noting that, since 1790, Congress and the Census Bureau have used words such as “inhabitant”

and “[u]sual residence” to “describe the required tie to the State” and that defining the metes and

bounds of these terms are not always clear). But it does not follow that illegal aliens — a

category defined by legal status, not residence — can be excluded from the phrase. To the

contrary, the ordinary definition of the term “inhabitant” is “one that occupies a particular place

regularly, routinely, or for a period of time.” See MERRIAM-WEBSTER’S COLLEGE DICTIONARY

601 (10th ed. 1997). And however ambiguous the term may be on the margins, it surely




                                                   70
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 71 of 86




encompasses illegal aliens who live in the United States — as millions of illegal aliens

indisputably do, some for many years or even decades. 16

        The Presidential Memorandum provides two examples to support its conclusion that

“[t]he discretion delegated to the executive branch to determine who qualifies as an ‘inhabitant’

includes authority to exclude from the apportionment base aliens who are not in a lawful

immigration status,” Presidential Memorandum, 85 Fed. Reg. at 44,679, but neither is remotely

convincing. First, the Memorandum notes that “aliens who are only temporarily in the United

States, such as for business or tourism, and certain foreign diplomatic personnel are ‘persons’

who have been excluded from the apportionment base.” Id. True enough, but that is not based

on their legal status. Instead, it is based on the fact that the United States is not their “usual

residence.” (Indeed, that is reflected in the Residence Rule.) Second, the Memorandum points

to the fact that “overseas Federal personnel have, at various times, been included in” the

apportionment base. Id. Once again, true enough. (Indeed, that was the issue in Franklin.) But

that is based on the fact that the terms “usual residence” and “inhabitant” have “been used



16
        Defendants argue that it is Plaintiffs’ burden to show “that there is no category of illegal
aliens that may be lawfully excluded from the apportionment,” Defs.’ Mem. 39, and suggest that
Plaintiffs cannot meet that burden because some categories of illegal aliens (e.g., aliens residing
in a detention facility after being arrested while crossing the border) can be lawfully excluded,
see id. at 27. But the examples Defendants proffer are arguably excluded (or excludable) based
on their “usual residence,” not their legal status. In any event, Defendants cite no authority for
applying the standards for facial challenges to the constitutionality of statutes to claims, like
those here, that the President has exceeded the authority granted to him by Congress. Indeed,
that arguably gets it backwards: If the President goes outside the bounds of the authority granted
to him by Congress, a court’s power to grant relief should not depend on how far outside the
bounds he went. Notably, courts considering similar claims have not approached them in the
manner Defendants propose. See, e.g., Hawaii v. Trump, 878 F.3d 662, 690-92 (9th Cir. 2017)
(concluding that a presidential proclamation exceeded the President’s delegated authority under
the Immigration and Nationality Act), rev’d and remanded on other grounds, 138 S. Ct. 2392
(2018); Chamber of Commerce of U.S. v. Reich, 74 F.3d 1322, 1324, 1337-39 (D.C. Cir. 1996)
(concluding that an executive order announcing a “policy of the executive branch” was ultra
vires and invalid).

                                                    71
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 72 of 86




broadly enough to include some element of allegiance or enduring tie to a place” and to “include

‘persons absent occasionally for a considerable time on public or private business.’” Franklin,

505 U.S. at 804-05 (quoting 2 THE RECORDS OF THE FEDERAL CONVENTION OF 1787, at 217

(Max Farrand ed., rev. ed. 1966) (statement of James Madison)). It is simply a non sequitur to

suggest, as the Presidential Memorandum does, that just because the phrase “persons in each

State” can be construed to include people who are “temporarily stationed abroad” but “retain[]

their ties to the States,” id. at 806, it can also be construed to exclude people who indisputably

inhabit or reside in a State.

        Defendants are on no firmer ground in arguing that illegal aliens can be excluded from

“the whole number of persons in each State,” as that phrase is used in Section 2a, because they

“may be removed from the country at any time.” Defs.’ Mem. 39. A person living in a State but

facing future removal is no less a “person[] in that State,” Defs.’ Reply 4 (internal quotation

marks and alteration omitted), than someone living in the State without the prospect of removal.

Moreover, many people in immigration custody or removal proceedings actually have lawful

immigration status, see, e.g., Ragbir v. Homan, 923 F.3d 53, 57-58 (2d Cir. 2019), and their

placement in custody or removal proceedings does not necessarily render them unlawfully

present. Notably, data reveal that immigration judges ultimately allow many aliens in custody or

removal proceedings to remain in the United States. See Immigration Judges Decide 57 Percent

Entitled to Remain in U.S., TRAC IMMIGRATION (Aug. 17, 2016), https://trac.syr.edu/

immigration/reports/435/. And many people initially designated as “undocumented” —

including many intercepted at the border — ultimately obtain lawful status, such as asylum. See

EXEC. OFFICE FOR IMMIGRATION REVIEW, U.S. DEP’T OF JUSTICE, STATISTICS YEARBOOK FISCAL




                                                  72
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 73 of 86




YEAR 2018, at 27 (2019), https://www.justice.gov/eoir/file/1198896/download. Nothing in

Section 2a turns on such fluctuations and nuances in legal status.

       Once again, legislative history and settled practice confirm our conclusion that “persons

in each State” turns solely on residency, without regard for legal status. In looking to legislative

history, we look not to the history surrounding the framing of the Constitution or the

Reconstruction Amendments, even though the words in the statute mirror those in Article I and

the Fourteenth Amendment. Instead, we look to 1929, when Section 2a was enacted and the

words “whole number of persons in each State” entered the statutory lexicon. See Act of June

18, 1929, Pub. L. No. 71-13 § 22, 46 Stat. 21, 26. That is because our task is to interpret the

statute itself, and we do so “in accord with the ordinary public meaning of its terms at the time of

its enactment.” Bostock v. Clayton Cty., 140 S. Ct. 1731, 1738 (2020). That is not to say that the

constitutional language is irrelevant to our task: The drafters of Section 2a used the same words

as those in the Constitution, so their understanding of the constitutional language sheds light on

their understanding — and the “ordinary public meaning” — of the statutory text “at the time of

its enactment.” Id. But it is their understanding of the constitutional language, not whether their

understanding was correct (on which we need and do not opine), that matters. Cf. Parker

Drilling Mgmt. Servs., Ltd. v. Newton, 139 S. Ct. 1881, 1890 (2019) (“It is a commonplace of

statutory interpretation that Congress legislates against the backdrop of existing law.” (internal

quotation marks omitted)). 17




17
       For this reason, we need not and do not delve into the meaning of the terms “inhabitant”
and “usual residence” at the time of the Founding or of the Reconstruction Amendments, or
consider whether the concept of unlawful status was known to the Framers of Article I or the
Fourteenth Amendment. There is no dispute that the concept of “illegal aliens” existed in 1929,
when Section 2a was enacted. See Defs.’ Mem. 36.


                                                  73
       Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 74 of 86




       Notably, in enacting the 1929 Act that used the phrase “whole number of persons in each

State,” the Senate and the House both considered and rejected amendments that would have

excluded non-citizens from the apportionment base. See 71 Cong. Rec. 1907 (1929) (Sen.

Sackett proposes amending S.B. 312 to require the President’s statement to Congress to show

“the whole number of persons in each State, exclusive of aliens and excluding Indians not

taxed”); id. at 2065 (vote on amendment by Sen. Sackett fails); id. at 2360-63 (House adopts

alienage exclusion as amendment to the apportionment bill); id. at 2448-2455 (House adopts

amendment of Rep. Tilson to remove the previously adopted alienage exclusion). What is more,

opposition to these amendments was based not only on a view that “the whole number of persons

in each State” should include every resident of each State, without regard to legal status; it was

based also on a view that the Constitution mandated inclusion of illegal aliens residing in the

United States. Senator David Reed, for instance, voiced support for an amendment excluding

illegal aliens from the apportionment base as a matter of policy but opposed it on grounds of

constitutionality and consistent practice. “Every Congress that acted on that part of Article I of

the original Constitution and every apportionment that was made in reliance upon that article,”

he explained, “included all free persons literally. It excluded Indians not taxed and it excluded

slaves, but every apportionment inhabitant[] who” was not a “citizen[] w[as] included.” Id. at

1958. “That construction,” he noted then, “has been continuous and consistent.” Id.

       Further evidence of the understanding of the phrase “whole number of persons in each

State” in Section 2a is revealed by the opinion of the Senate’s legislative counsel on the issue.

“That the fourteenth amendment was framed with the intention of including aliens,” he wrote, “is

indicated by the rejection by the Congress of proposals to base representation on the number of




                                                  74
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 75 of 86




citizens and on the number of voters.” Id. at 1822. Consistent with that understanding, Congress

had always included aliens in the apportionment base:

        The practical construction of the constitutional provision by Congress in its
        apportionment legislation has been uniformly in favor of inclusion of aliens. No
        exception of noncitizens from the enumeration has been made under any past
        apportionment. The term “persons” necessarily either includes or excludes aliens;
        its constitutional meaning can not be changed by Congress; and the fact that it has
        from the beginning been construed to include aliens should be conclusive if the
        meaning was open to dispute.

Id. It was “therefore the opinion of [the legislative counsel’s] office that there is no

constitutional authority for the enactment of legislation excluding aliens from enumeration for

the purposes of apportionment of Representatives among the States.” Id. This prevailing view

makes plain that when Congress directed the President to report the “whole number of persons in

each State,” it understood the phrase to include all who lived in each State, without regard for

legal status, and that it did not grant to the President discretion to do by Memorandum what it

could not do by statute. 18

        Not for nothing, until the Presidential Memorandum, the Executive Branch had also

always taken the view that the 1929 Act, if not the Constitution, prohibited exclusion of illegal

aliens from the apportionment base due to legal status alone. In defending against a 1980

challenge to including illegal aliens in the apportionment base, for example, the Department of

Justice argued that “[t]he plain language of [the Act] maintains the Constitutional requirement of

counting all inhabitants of the states, legal and illegal, for purposes of apportionment. . . .



18
        For what it’s worth, later Congresses took similar views. See FAIR v. Klutznick, 486 F.
Supp. at 576-77 (three-judge court) (describing congressional debates); Stacy Robyn Harold,
Note, The Right to Representation and the Census, 53 WAYNE L. REV. 921, 923 & n.15 (2007)
(collecting congressional debates); see also, e.g., 1980 Census: Counting Illegal Aliens: Hearing
on S. 2366 Before the Subcomm. on Energy, Nuclear Proliferation & Fed. Servs. of the S. Comm.
on Governmental Affairs, 96th Cong. 12 (1980) (Senator Javits stating that the Constitution
requires “the aggregate number of inhabitants, which includes aliens, legal and illegal”).

                                                   75
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 76 of 86




Moreover, the long-established practice of both Congress and the Census Bureau of reading the

Constitution to require the counting of illegal aliens for apportionment purposes ratifies this

construction.” Defs.’ Reply Mem. & Opp. Pls.’ Mot. Summ. J. 11, FAIR, 486 F. Supp. 564

(citing Red Lion Broadcasting Co. v. FCC, 395 U.S. 367, 380-82 (1967)). In 1988, the Justice

Department took the position in a letter to Congress that excluding illegal aliens from the census

and apportionment base would be unconstitutional, see Letter from Thomas M. Boyd, Acting

Assistant Attorney Gen., to Rep. William D. Ford (June 29, 1988) (reprinted in U.S. GOV’T

PRINTING OFFICE, 1990 CENSUS PROCEDURES AND DEMOGRAPHIC IMPACT ON THE STATE OF

MICHIGAN, 240-44 (1988)), a position it reaffirmed one year later, see Letter from Carol T.

Crawford, Assistant Attorney Gen., to Sen. Jeff Bingaman (Sept. 22, 1989) (reprinted in 135

Cong. Rec. S22,521 (daily ed. Sept. 29, 1989)). And the Census Bureau itself has long

“interpreted its constitutional charge and its statutory mandate to require counting every person

[irrespective of citizenship status] who has a usual residence in any State.” Census Equity Act:

Hearing on H.R. 2661 Before the Subcomm. on Census & Population of the H. Comm. on Post

Office & Civil Serv., 101st Cong. 68 (1989) (statement of Michael R. Darby, Under Sec’y of

Commerce for Econ. Affairs) (emphasis added); accord Letter from Robert A. Mosbacher, Sec’y

of Commerce, to Sen. Jeff Bingaman (Sept. 25, 1989) (reprinted in 135 Cong. Rec. S22,522

(daily ed. Sept. 29, 1989)).

        In fact, since 1929 (if not before), the consistent view of both political branches has been

that Section 2a, if not the Constitution, requires the inclusion of all residents in the

apportionment base, without regard for their legal status. When pressed at oral argument to cite

“any instance, any support . . . in the historical record” for the proposition that the President has

discretion under Section 2a to exclude illegal aliens from the apportionment base, defense



                                                    76
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 77 of 86




counsel came up empty. Oral Arg. Tr. 46 (“We have not been able to identify any.”). With

admirable candor, albeit some understatement, he was compelled to concede that “[P]laintiffs’

best argument is history, and that cuts the other way.” Id. at 47.

        With neither text nor history on their side, the only thing Defendants have remaining is

their assertion that excluding illegal aliens from the apportionment base is “more consonant with

the principles of representative democracy underpinning our system of Government.”

Presidential Memorandum, 85 Fed. Reg. at 44,680. That is certainly a defensible (though

contestable) proposition. But it is also irrelevant. The Constitution gives to Congress the

authority to regulate the census and to reapportion the House. In exercising that authority, and

delegating responsibility to the Executive Branch, Congress adopted a different theory of

Government, in which the House of Representatives represents the whole population, not a

subset of the population, and there is “equal representation for equal numbers of people.”

Wesberry v. Sanders, 376 U.S. 1, 14 (1964). The President is not free to substitute his own view

of what is most “consonant with the principles of representative democracy” for the view that

Congress already chose.

        The statutory command to use the “whole number of persons in each State” as the

apportionment base does not give the President discretion to exclude illegal aliens on the basis of

their legal status, without regard for their residency. In declaring that “it is the policy of the

United States” to do so, and commanding the Secretary to take steps to carry out that policy, the

Presidential Memorandum deviates from, and thus violates, Section 2a.

C. Conclusion

        In sum, the Presidential Memorandum deviates from, and thus violates, the statutory

scheme in two independent ways: first, by requiring the Secretary to include in his Section



                                                    77
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 78 of 86




141(b) report a set of numbers other than “[t]he tabulation of total population by States” under

the “decennial census” and contemplating reapportionment based on a set of numbers other than

“the whole number of persons in each State . . . as ascertained under the . . . decennial census of

the population”; and second, by excluding illegal aliens from the “whole number of persons in

each State” that Section 2a(a) requires to be used as the apportionment base.

       As Defendants implicitly concede, it follows that Plaintiffs are entitled to summary

judgment on their statutory claims pursuant to the ultra vires doctrine, a cause of action that “is

the creation of courts of equity, and reflects a long history of judicial review of illegal executive

action, tracing back to England.” Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 327

(2015). The doctrine provides that “[w]hen an executive acts ultra vires,” as is the case

here, “courts are normally available to reestablish the limits on his authority.” Reich, 74 F.3d at

1328; see also Stark v. Wickard, 321 U.S. 288, 309-10 (1944) (“When Congress passes an Act

empowering administrative agencies to carry on governmental activities, the power of those

agencies is circumscribed by the authority granted. . . . The responsibility of determining the

limits of statutory grants of authority in such instances is a judicial function entrusted to the

courts by Congress by the statutes establishing courts and marking their jurisdiction.”); Am. Sch.

of Magnetic Healing v. McAnnulty, 187 U.S. 94, 108 (1902) (“The acts of all [executive branch]

officers must be justified by some law, and in case an official violates the law to the injury of an

individual the courts generally have jurisdiction to grant relief.”); Mountain States Legal Found.

v. Bush, 306 F.3d 1132, 1136 (D.C. Cir. 2002) (“Courts remain obligated to determine whether

statutory restrictions have been violated.”). In light of that conclusion, we need not and do not

reach Plaintiffs’ constitutional claims, let alone the Plaintiffs’ claims that did not form the basis




                                                   78
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 79 of 86




for their motion. Thus, Defendants’ motion to dismiss those claims under Rule 12(b)(6) of the

Federal Rules of Civil Procedure is moot.

                                            REMEDIES

       Having granted Plaintiffs summary judgment on their statutory claims, we turn to the

issue of remedies. Plaintiffs seek a permanent injunction prohibiting all Defendants — including

the President himself — from implementing the Presidential Memorandum and a declaratory

judgment that the Presidential Memorandum is unlawful. See Gov’t Pls.’ Compl. 44-45; NGO

Pls.’ Compl. 88-89.

A. Injunctive Relief

       It is well established that plaintiffs “seeking a permanent injunction must satisfy a four-

factor test before a court may grant such relief.” eBay Inc. v. MercExchange, L.L.C., 547 U.S.

388, 391 (2006). Specifically, they must show: (1) that they have suffered an irreparable injury;

(2) that remedies available at law, such as monetary damages, are inadequate to compensate for

that injury; (3) that, considering the balance of hardships between the plaintiffs and defendants, a

remedy in equity is warranted; and (4) that the public interest would not be disserved by a

permanent injunction. See id. But because “the government’s interest is the public interest,”

where, as here, the government is a party, the last two factors merge. Pursuing Am.’s Greatness

v. FEC, 831 F.3d 500, 511 (D.C. Cir. 2016); accord Nken v. Holder, 556 U.S. 418, 435 (2009).

       Plaintiffs easily satisfy each factor and, thus, are entitled to an injunction. First and

foremost, as discussed above, the census-related harms that Plaintiffs have demonstrated would

be irreparable absent an injunction. That is, because there are no census do-overs, there would

be no way to remedy them after the fact. And even if there were a way to correct for them after

the fact, the harms, by their nature, are difficult, if not impossible, to measure. See, e.g., Salinger



                                                   79
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 80 of 86




v. Colting, 607 F.3d 68, 81 (2d Cir. 2010) (“Harm might be irremediable, or irreparable, for

many reasons, including that a loss is difficult to replace or difficult to measure . . . .”). Making

matters worse, the harms caused by an inaccurate census would be felt for at least a decade, until

the 2030 decennial census — if not longer. See, e.g., Baldwin Decl. ¶ 25 (explaining that

because the State of Washington relies on thirty-year population forecasts, which requires “an

indicator that goes back in time as far as you are forecasting forward in time,” the “2020 census

data will be used in forecasting until at least the 2050 census data is available, and probably

longer”). For much the same reason, the remedies available at law would plainly be inadequate.

See, e.g., New York v. Dep’t of Commerce, 351 F. Supp. 3d at 675 (issuing an injunction and

finding that “the degradation of information . . . would be irreparable, without any adequate

remedy at law”).

       Finally, the balance of the hardships and the public interest both favor an injunction.

Indeed, “[t]here is generally no public interest in the perpetuation of unlawful agency action. To

the contrary, there is a substantial public interest in having governmental agencies abide by the

federal laws that govern their existence and operations.” League of Women Voters of U.S. v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (internal quotation marks and citation omitted).

Moreover, both the Supreme Court’s decision in Department of Commerce v. House of

Representatives — affirming the Eastern District of Virginia’s permanent injunction against the

use of statistical sampling to enumerate the population in the 2000 census — and the Second

Circuit’s holding in Carey — affirming a preliminary injunction requiring the Census Bureau to

process certain forms and to compare its list of New York City residents against other

government records — confirm that the public interest favors an injunction in these cases. See

House of Representatives, 525 U.S. at 344; Carey v. Klutznick, 637 F.2d 834, 839 (2d Cir. 1980).



                                                   80
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 81 of 86




As the Second Circuit noted in Carey, “the public interest . . . requires obedience . . . to the

requirement that Congress be fairly apportioned, based on accurate census figures. Furthermore,

it is in the public interest that the federal government distribute its funds, when the grant statute

is keyed to population, on the basis of accurate census data.” Id.

        Defendants’ sole claim of hardship is that an injunction would “interfere with the

Bureau’s ongoing process by hindering agency efforts to refine its policies and to apply its

expertise.” Defs.’ Reply 2 (internal quotation marks and alterations omitted). 19 They do not

elaborate further, but it is plain that they are not referring to the operations of the census itself

because, as noted above, they repeatedly concede that the Presidential Memorandum does “not in

any way affect the conduct of the actual census.” Id. Thus, Defendants must be referring to the

Census Bureau’s ongoing efforts to figure out how, if at all, to implement the President’s

directive in the Presidential Memorandum in time to meet the statutory deadline for the

Secretary’s report to the President. See 13 U.S.C. § 141(b). But it is against the public interest

to comply with an unlawful directive. And any suggestion that, in the event our decision is

reversed on appeal, granting an injunction would hinder the Census Bureau’s efforts to comply

with the Presidential Memorandum by the deadline are undermined by Defendants’ repeated



19
        Referencing a point they made in passing in a footnote in their opening brief, Defendants
also argue for the first time in their reply that an injunction prohibiting the Secretary from
transmitting information would violate the Opinions Clause of the Constitution, see Defs.’ Reply
11 (citing Defs.’ Mem. 42 n.17), which empowers the President to “require the Opinion, in
writing, of the principal Officer in each of the executive Departments, upon any Subject relating
to the Duties of their respective Offices,” U.S. Const. art. 2, § 2, cl. 1. A party may not raise an
argument in a footnote or for the first time in reply, so we deem the argument to be waived. See,
e.g., Norton v. Sam’s Club, 145 F.3d 114, 117 (2d Cir. 1998) (“Issues not sufficiently argued in
the briefs are considered waived . . . .”); Levine v. Lawrence, No. 03-CV-1694 (DRH) (ETB),
2005 WL 1412143, at *5 (E.D.N.Y. June 15, 2005) (“[F]ailure to adequately brief an argument
constitutes waiver of that argument . . . .”). In any event, ensuring that the Secretary complies
with the mandates of Section 141(b) — and, by extension, that the President complies with the
mandates of Section 2a(a) — does not run afoul of the Opinions Clause.

                                                    81
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 82 of 86




assertions that “an erroneous or invalid apportionment number can be remedied after the fact.”

Defs.’ Mem. 48. Finally, any such hardship to Defendants can be mitigated, if not eliminated, by

crafting the injunction — as we do below — to bar only the inclusion in the Secretary’s Section

141 report of data concerning the number of illegal aliens in each State and to allow the Census

Bureau to continue its research efforts.

       Thus, a permanent injunction is warranted. In an exercise of our discretion, however, we

grant injunctive relief against all Defendants other than the President. The parties vigorously

dispute whether and under what circumstances a federal court can grant injunctive relief against

the President. Compare Defs.’ Mem. 44-45, and Defs.’ Reply 14-15, with Pls.’ Reply 27 & n.13.

At a minimum, however, it is plain that the “grant of injunctive relief against the President

himself is extraordinary, and should . . . raise[] judicial eyebrows.” Franklin, 505 U.S. at 802.

Thus, “[a]s a matter of comity,” if nothing else, “courts should normally direct legal process to a

lower Executive official even though the effect of the process is to restrain or compel the

President.” Nixon v. Sirica, 487 F.2d 700, 709 (D.C. Cir. 1973) (en banc) (per curiam). That is

particularly true where the court can grant complete relief without enjoining the President, as is

the case here. See, e.g., Franklin, 505 U.S. at 802 (“[W]e need not decide whether injunctive

relief against the President [i]s appropriate, because we conclude that the injury alleged is likely

to be redressed by declaratory relief against the Secretary alone.”); accord Evans, 536 U.S. at

463-64. In fact, if anything, the need to enjoin the President himself is even weaker here than it

was in Franklin and Evans, which were litigated after the President had transmitted his

apportionment statement to Congress. For the plaintiffs in those cases to obtain meaningful

relief, therefore, the President himself would have needed to calculate a new apportionment

figure and to then submit a new report to Congress. Here, by contrast, enjoining Defendants



                                                  82
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 83 of 86




other than the President (and granting a declaratory judgment, as discussed below) would

provide Plaintiffs with complete relief, as the President cannot exclude illegal aliens from his

apportionment calculations in his statement to Congress unless the Secretary gives him the

relevant information in the Section 141 report.

        Accordingly, the Court enjoins all Defendants other than the President from including in

the Secretary’s report to the President pursuant to Section 141(b) any “information permitting the

President . . . to exercise the President’s discretion to carry out the policy set forth in section 2”

of the Presidential Memorandum — that is, any information concerning the number of aliens in

each State “who are not in a lawful immigration status under the Immigration and Nationality

Act.” Presidential Memorandum, 85 Fed. Reg. at 44,680. Instead, consistent with the Census

Act, the Secretary’s Section 141(b) report shall include only “[t]he tabulation of total population

by States under” Section 141(a) “as required for the apportionment of Representatives in

Congress among the several States,” 13 U.S.C. § 141(b) — that is, “information tabulated

according to the methodology set forth in [the Residence Rule],” Presidential Memorandum, 85

Fed. Reg. at 44,680. 20 To be clear, as an exercise of its discretion, the Court does not enjoin

Defendants from continuing to study whether and how it would be feasible to calculate the

number of illegal aliens in each State. That ensures that in the event that a higher court disagrees




20
        Separately, there is an active debate over the propriety of “nationwide” or “universal”
injunctions. See, e.g., Dep’t of Homeland Sec. v. New York, 140 S. Ct. 599, 600-01 (2020)
(Gorsuch, J., concurring); Trump v. Hawaii, 138 S. Ct. 2392, 2425-29 (2018) (Thomas, J.,
concurring); see also Memorandum from the Attorney General to Heads of Civil Litigating
Components & United States Attorneys, U.S. Dep’t of Justice, Litigation Guidelines for Cases
Presenting the Possibility of Nationwide Injunctions (Sept. 13, 2018), https://www.justice.gov/
opa/press-release/file/1093881/download. That debate has no relevance to this case, for many of
the same reasons that it had no relevance in the citizenship question litigation. See New York v.
Dep’t of Commerce, 351 F. Supp. 3d at 677-78. Not surprisingly, therefore, Defendants do not
even raise the issue.

                                                    83
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 84 of 86




with our ruling (prior to the Section 141(b) deadline), the Secretary will be able to comply with

the Presidential Memorandum in a timely fashion.

B. Declaratory Relief

       In addition, we grant Plaintiffs’ request for declaratory relief. The Declaratory Judgment

Act vests federal courts with discretion to “declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could be sought.” 28

U.S.C. § 2201(a); see Wilton v. Seven Falls Co., 515 U.S. 277, 282 (1995). In exercising that

discretion, courts must consider (1) whether the judgment will serve a useful purpose in

clarifying or settling the legal issues involved; (2) whether a judgment would finalize the

controversy and offer relief from uncertainty; (3) whether the proposed remedy is being used

merely for procedural fencing or a race to res judicata; (4) whether the use of a declaratory

judgment would increase friction between sovereign legal systems or improperly encroach on the

domain of a state or foreign court; and (5) whether there is a better or more effective remedy.

Dow Jones & Co. v. Harrods Ltd., 346 F.3d 357, 359-60 (2d Cir. 2003). “The existence of

another adequate remedy does not preclude a declaratory judgment that is otherwise

appropriate,” Fed. R. Civ. P. 57, and we may grant declaratory relief “whether or not further

relief is or could be sought,” 28 U.S.C. § 2201(a); see also Powell v. McCormack, 395 U.S. 486,

518 (1969) (“[A] request for declaratory relief may be considered independently of whether

other forms of relief are appropriate.”).

       In our view, a declaration that the Presidential Memorandum is unlawful “would serve a

useful purpose here, settle the legal issues involved, finalize the controversy, and offer

[Plaintiffs] relief from uncertainty.” Niagara Mohawk Power Corp. v. Hudson River-Black

River Regulating Dist., 673 F.3d 84, 105 (2d Cir. 2012). Indeed, an unambiguous declaration



                                                  84
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 85 of 86




that the Presidential Memorandum is unlawful because the President does not have the authority

to exclude illegal aliens from the apportionment base would serve the further useful purpose of

“reasurr[ing] people they will be counted for the purpose of determining . . . congressional seats

and electoral votes,” Espinosa Supp. Decl. ¶ 8, thereby directly addressing the chilling effect on

census participation that the Memorandum has caused. Cf. Foretich v. United States, 351 F.3d

1198, 1215 (D.C. Cir. 2003) (“[A] declaration will remove the imprimatur of government

authority from [the illegal a]ct . . . .”). Such a declaration is particularly useful given that, for the

reasons we discussed above, we decline to enjoin Defendants from taking steps to research

whether or how the Presidential Memorandum could be implemented. That is, an unambiguous

judicial declaration that the Presidential Memorandum is unlawful would help ensure that the

chilling effects on participation in the census are mitigated to the maximum extent possible.

                                           CONCLUSION

        There is no dispute that the President has “accustomed supervisory powers over his

executive officers,” Franklin, 505 U.S. at 800, and thus retains some discretion in the conduct of

the decennial census and resulting apportionment calculation. Nevertheless, where the authority

of the President (or other members of the Executive Branch) to act is derived from statutes

passed by Congress, the President must act in accordance with, and within the boundaries of, the

authority that Congress has granted. For the reasons discussed above, we conclude that the

President did not do so here and that the Presidential Memorandum is an ultra vires violation of

Congress’s delegation of its constitutional responsibility to count the whole number of persons in

each State and to apportion members of the House of Representatives among the States

according to their respective numbers under 2 U.S.C. § 2a and 13 U.S.C. § 141. Accordingly,

Plaintiffs’ motion for summary judgment with respect to their statutory ultra vires claims is



                                                    85
        Case 1:20-cv-05770-JMF Document 164 Filed 09/10/20 Page 86 of 86




GRANTED, Defendants (other than the President) are ENJOINED as set forth above, and the

Presidential Memorandum is DECLARED unlawful. We need not and do not reach the merits of

Plaintiffs’ other claims and need not address their request, in the alternative, for a preliminary

injunction. Finally, Defendants’ motion to dismiss for lack of jurisdiction is DENIED and their

motion to dismiss for failure to state a claim is DENIED as moot. 21

       The Clerk of Court is directed to terminate ECF Nos. 74 and 117 and to close this case.

       SO ORDERED.


Dated: September 10, 2020                           _______________/s/_________________
       New York, New York                                   RICHARD C. WESLEY
                                                           United States Circuit Judge

                                                    _______________/s/_________________
                                                               PETER W. HALL
                                                           United States Circuit Judge

                                                    _______________/s/_________________
                                                             JESSE M. FURMAN
                                                           United States District Judge



21
        We believe that this matter was properly heard by a three-judge panel for the reasons set
forth in Judge Furman’s request to then-Chief Judge Katzmann for the appointment of such a
panel. See ECF No. 68. Nevertheless, mindful that the issue is not clear-cut and that the Second
Circuit has determined that it is jurisdictional, see Kalson v. Paterson, 542 F.3d 281, 286-87 (2d
Cir. 2008), we follow the lead of prior three-judge panels by certifying that Judge Furman, to
whom these cases were originally assigned, individually arrived at the same conclusions that we
have reached collectively. See Swift & Co. v. Wickham, 382 U.S. 111, 114 n.4 (1965) (noting
with approval that “[t]his procedure for minimizing prejudice to litigants when the jurisdiction of
a three-judge court is unclear has been used before” (citing Query v. United States, 316 U.S. 486
(1942))); FAIR v. Klutznick, 486 F. Supp. at 578 (three-judge court) (“District Judge Gasch
additionally certifies that he individually arrived at the same conclusion that we collectively
reached . . . out of abundant caution, so that in the event we are mistaken, an appeal can still be
expeditiously taken in the appropriate forum.” (internal quotation marks and citation omitted));
cf. Massachusetts v. Mosbacher, 785 F. Supp. 230, 238 n.6 (D. Mass.) (three-judge court)
(“Because the author of this opinion is the single district judge to whom this case was initially
assigned, this opinion stands as certification that the author has individually arrived at the
conclusions expressed collectively in the opinion and the judgment of this three-judge
court.”), rev’d on other grounds sub nom. Franklin v. Massachusetts, 505 U.S. 788 (1992).

                                                  86
